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16 themselves and all others similarly situated
17
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18
19                       UNITED STATES DISTRICT COURT
20         CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
21 SCOTT PECKERAR and SAMANTHA                 Case No.: 5:18-cv-02153
   PECKERAR, on behalf of themselves
22 and all others similarly situated,          CLASS ACTION
23
                    Plaintiffs,                CLASS ACTION COMPLAINT
24                                             FOR:
25                      v.
                                               (1) VIOLATIONS OF THE
26 GENERAL MOTORS LLC,                         CALIFORNIA CONSUMERS
                                               LEGAL REMEDIES ACT (“CLRA”
27                Defendant.                   (CAL. CIV. CODE §§ 1750, et seq.)
28
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  1
                                             (2) VIOLATION OF THE
  2                                          CALIFORNIA UNFAIR
  3                                          COMPETITION LAW (CAL. BUS.
                                             & PROF. CODE §§ 17200, et seq.)
  4
  5                                          (3) VIOLATION OF THE SONG-
                                             BEVERLY CONSUMER
  6                                          WARRANTY ACT
                                             BREACH OF IMPLIED
  7                                          WARRANTY
  8                                          (CAL. CIV. CODE §§ 1791, et seq.)
  9                                          DEMAND FOR JURY TRIAL
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  1        Plaintiffs SCOTT PECKERAR and SAMANTHA PECKERAR, on behalf of
  2 themselves and all others similarly situated allege as follows upon personal
  3 knowledge as to Plaintiffs’ own conduct and on information and belief as to all other
  4 matters based on an investigation by counsel, such that each allegation has
  5 evidentiary support or is likely to have evidentiary support upon further
  6 investigation and discovery:
  7 I.     NATURE OF THE ACTION
  8        1.    Plaintiffs bring claims under the consumer protection laws of California
  9 against Defendant GENERAL MOTORS LLC (“GM”).
10         2.    This action arises from the sale or lease of thousands of vehicles
11 throughout California manufactured by Defendant GM that are equipped with
12 defective braking systems. These defective braking systems were installed in all
13 model year 2015 to present Cadillac Escalades, 2014 to present Chevrolet
14 Silverados, 2015 to present Chevrolet Suburbans, 2015 to present Chevrolet Tahoes,
15 2014 to present GMC Sierras, and 2015 to present GMC Yukon/Yukon XLs (the
16 “Class Vehicles”) and sold or leased to consumers in California, including Plaintiffs.
17         3.    The irreparable and defective braking system supplied in all of the
18 Class Vehicles features a defective design that is prone to sudden and unexpected
19 loss of vacuum in the brake booster, requiring replacement of the brake booster
20 and/or the system’s vacuum pump. When Class Vehicles suddenly and unexpectedly
21 lose vacuum, the resulting brake booster failure makes Class Vehicles difficult to
22 stop: the brake pedal becomes hard, much more force is required from the driver to
23 slow the vehicle, and stopping distance is severely and suddenly compromised. The
24 defective braking system common to all Class Vehicles is a clear safety hazard that
25 was never disclosed to any member of the class prior to purchase.
26         4.    Reasonable efforts undertaken by the Class to remedy this defect with
27 or through GM have been unsuccessful.
28 / / /

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  1        5.     GM sold, leased, and continues to sell and lease the Class Vehicles
  2 despite its awareness of the defect and the danger it poses to consumers and other
  3 drivers. GM chose and continues to choose financial gain at the expense of
  4 consumer safety by concealing and omitting a disclosure of this critical safety defect
  5 to consumers who purchase or lease Class Vehicles.
  6        6.     GM has been aware of the safety hazard posed by its defective braking
  7 system since at least 2014. GM should not have sold, leased, or marketed the Class
  8 Vehicles without a full and complete disclosure of the Class Vehicles’ safety defect,
  9 and should have voluntarily recalled the Class Vehicles long ago.
10         7.     Plaintiffs bring this action on behalf of themselves and all those
11 similarly situated (“Class,” “Class Members,” “Consumers,” “Owners”) for GM’s
12 deceptive trade practices in violation of the consumer protection laws of California,
13 and for equitable relief. Plaintiffs seek damages, injunctive and declaratory relief,
14 restitution, disgorgement of profits, attorney’s fees and costs, punitive damages, and
15 the repair of, replacement of, or refund of money paid to own or lease all Class
16 Vehicles in California, except that no monetary relief is presently sought for
17 violations of the Consumers Legal Remedies Act.
18 II.     JURISDICTION AND VENUE
19         8.     Pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction over
20 the Plaintiffs’ and the Class Members’ claims in that diversity of citizenship exists
21 and Plaintiffs seek to represent a Class of persons in a matter in controversy that
22 exceeds the sum or value of $5,000,000, exclusive of interest and costs.
23         9.     This Court has general and specific jurisdiction over the Defendant
24 because Defendant GM has sufficient minimum contacts with California and within
25 the Central District of California to establish Defendant’s presence in California,
26 and certain material acts upon which this suit is based occurred within the Central
27 District of California, to include but not be limited to the sale of the Defendant’s
28 defective product to the Plaintiffs.

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  1        10.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
  2 because Defendant is subject to personal jurisdiction within the Central District of
  3 California and a substantial part of the events or omissions giving rise to the claims
  4 asserted herein occurred in this judicial district. GM does substantial business in the
  5 State of California and within this Judicial District, is registered to and is doing
  6 business within the State of California, and otherwise maintains requisite minimum
  7 contacts with the State of California. Additionally, GM distributes Class Vehicles in
  8 this District and receives substantial compensation and profits from the sale and
  9 lease of Class Vehicles in this District, and has and continues to conceal and make
10 material omissions in this District so as to subject it to in personam jurisdiction in
11 this District. Furthermore, venue is proper in this District because, like many other
12 Class Members, significant and material aspects of the transactions relating to
13 Plaintiffs’ purchase of their Class Vehicle occurred within and were otherwise
14 connected to this Judicial District.
15 III.    PARTIES
16         11.    Plaintiffs Scott Peckerar and Samantha Peckerar are adult citizens and
17 reside in this judicial district and division.
18         12.    Defendant GENERAL MOTORS LLC is a Delaware limited liability
19 company whose principal place of business is in the State of Michigan. On
20 information and belief, none of General Motors LLC’s members have citizenship in
21 the state of California. Defendant GM manufactured, distributed, sold, serviced
22 and/or warranted the Class Vehicles made the subject of this litigation. GM
23 distributed, sold, serviced and/or warranted, directly or indirectly, thousands of
24 Class Vehicles to Plaintiffs and the Class Members with the understanding and
25 expectation that those vehicles would be sold in, operate in, and be fit for their
26 intended purpose in California.
27 / / /
28 / / /

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  1 IV.    FACTUAL BACKGROUND
  2        A.     Plaintiffs Purchased a Defective Class Vehicle.
  3        13.    On or about January 18, 2017, Plaintiffs purchased a new 2017 model
  4 year Chevrolet Suburban at a franchised General Motors dealership, Paradise
  5 Chevrolet, located in Riverside County, California. Plaintiffs executed all sales
  6 documents in Riverside County, California.
  7        14.    On April 11, 2017, Paradise Chevrolet was performing maintenance on
  8 Plaintiffs’ Suburban at 7,113 miles and found a leak of engine oil. Paradise
  9 Chevrolet diagnosed the vehicle with a failed vacuum pump. The Repair Order
10 stated: “VERIFIED ENGINE OIL LEAK PRESENT AT ENGINE VACUUM
11 PUMP. LEAK CAUSED BY FAILING SHAFT SEAL ON VACUUM PUMP.
12 NECESSARY TO REPLACE VACUUM PUMP ASSEMBLY TO REPAIR.
13 REPLACED VACUUM PUMP ASSEMBLY AND ASSOCIATED GASKETS
14 AND HARDWARE.”
15         15.    On April 11, 2017, Plaintiffs’ Suburban was still covered by GM’s
16 express bumper-to-bumper limited warranty, and Plaintiffs had owned the vehicle
17 for less than one year. The original repair for the Suburban’s vacuum pump was
18 replaced under warranty, but the fix failed to remedy the defect in the vehicle’s
19 braking system.
20         16.    On April 5, 2018, Plaintiff Samantha Peckerar was driving the
21 Suburban and experienced a startling issue with her brakes. She pressed her brake
22 pedal but the pedal became hard and prevented her from stopping her vehicle,
23 resulting in a collision with the vehicle in front of her.
24         17.    Concerned for the safety of their family, Plaintiffs informed GM about
25 the braking problem with their Suburban.
26         18.    General Motors sent an investigator to visit the Plaintiffs home and
27 inspect the Plaintiffs’ Suburban. GM’s representatives told Plaintiffs that no
28 electronic data retrieved from the vehicle evidenced a defect. GM’s representatives

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  1 also told Plaintiff Samantha Peckerar that she should consult her manual to
  2 understand the operation of her Suburban’s brakes. Despite Plaintiffs’ insistence,
  3 GM refused to do any kind of field testing of the vehicle or otherwise evaluate it for
  4 safety under driving conditions. Instead, GM attempted to induce Plaintiffs into
  5 signing a release for any claims of liability against GM or its franchised dealerships,
  6 including a promise of confidentiality, in exchange for the cost of repair to the
  7 Suburban’s front bumper.
  8        19.    Plaintiffs were unsatisfied by GM’s refusal to diagnose the brake
  9 failure that caused the collision and brought the vehicle to Paradise Chevrolet for
10 further inspection. Unlike GM’s corporate representatives, the GM dealership drove
11 the vehicle to confirm what Plaintiffs already knew—there was a problem with the
12 Suburban’s brakes.
13         20.    Paradise Chevrolet test drove the Suburban and discovered that the
14 Suburban failed to maintain vacuum boost. The Repair Order stated: “BODY SHOP
15 ADVISED THAT AFTER APPLYING AND RELEASING THE BRAKE PEDAL
16 AND THEN RE-APPLYING IMMEDIATELY AFTER FOR PANIC STOP THAT
17 BRAKE PEDAL FELT HARD AND VEHICLE DID NOT STOP AS DESIGNED.
18 … DROVE VEHICLE VERIFIED AFTER SECOND OR THIRD BRAKE
19 APPLICATION THAT THE PEDAL GETS HARD AND THE BRAKE ASSIST
20 FAILS TO PROVIDE ASSIST.”
21         21.    The cause of the collision was confirmed to be a second failure of the
22 vacuum pump, demonstrating that GM’s supposed fix for the Class Defect is
23 ineffective and dangerous. The Repair Order states: “SLOW TO BUILD VACUUM
24 BACK UP, REC VACUUM PUMP REPLACEMENT AND RETEST. … ALSO
25 SCAN TEST FOUND Code C025E brake booster sensor circuit/not plausible stored
26 in the EBCM. … Verified with GM technical assistance code C025E 5A is related
27 to low vacuum. … REPLACED VACUUM PUMP ASSEMBLY. CLEARED
28 CODE.”

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  1        B.     Defendant GM Knowingly Sold Dangerously Defective Vehicles to
                  Consumers.
  2
  3        22.    In fact, Plaintiffs’ dealership had been familiar with the Class Defect
  4 for at least three years when it repaired and replaced the vacuum pump in Plaintiffs’
  5 Suburban for the second time. In February of 2015, Defendant GM had issued a
  6 service bulletin #PIT5361B to all of its franchised dealerships. This bulletin affected
  7 the Class Vehicles produced to date at the time: 2015 Cadillac Escalade; 2014-2015
  8 Chevrolet Silverado 1500; 2015 Chevrolet Suburban; 2015 Chevrolet Tahoe; 2014-
  9 2015 GMC Sierra 1500; and 2015 Yukon. (Exhibit A.)
10         23.    In the bulletin, GM expressly acknowledged that “a customer may
11 comment on a hard brake pedal or that increased effort is needed to depress the
12 brake pedal” (hereinafter the “Class Defect”). As evidence of the Class Defect,
13 Defendant GM notified its dealers, “While performing normal diagnostics, fluid
14 may be found in the brake booster and/or the booster vacuum line.” The service
15 bulletin was “intended for use by professional technicians … written to inform these
16 technicians of conditions that may occur on some vehicles.” The service bulletin
17 was not, however, written or intended for the consuming public, including Plaintiffs
18 and any Class Members.
19         24.    Since the release of the Class Vehicles (the earliest of which was
20 Spring 2013), Defendant GM has received numerous warranty returns, customer
21 complaints, and National Highway Traffic Safety Administration “Vehicle Owner
22 Questionnaires” (“NHTSA VOQs”) relating to the defect.
23         25.    As a result, GM investigated the defect, developed a countermeasure
24 (attempted fix), and then cascaded the countermeasure into the field through their
25 dealerships in the form of a service bulletin effective February 2015. The service
26 bulletin requires extensive repair to include the replacement of the Vacuum Pump,
27 Vacuum Line Between the booster and the pump, Brake Booster, and Master
28 Cylinder. The service campaign process does not happen overnight, especially for a

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   1 repair as extensive as the February 2015 service campaign; it takes many months to
   2 identify the problem, attempt to fix it, and implement the fix in the field. GM knew
   3 their Class Vehicles suffered from the Class Defect well before Plaintiffs purchased
   4 their 2017 Chevrolet Suburban, but GM concealed the defect from unwitting
   5 consumers who unknowingly purchased Class Vehicles with a hidden defect.
   6        26.    Ultimately, Defendant GM would issue a series of service bulletins
   7 only to its dealers regarding the brake defect, including bulletins for the following
   8 Class Vehicles and year models: 2015-2016 Cadillac Escalade; 2014-2016
   9 Chevrolet Silverado 1500; 2015-2016 Chevrolet Suburban; 2015-2016 Chevrolet
  10 Tahoe; 2014-2016 GMC Sierra 1500; and 2015-2016 Yukon. (See Exhibit A.) As
  11 part of GM’s overall strategy to engage in material omission and deception upon
  12 Plaintiffs and the Class Members, these bulletins contain false, misleading, or
  13 deceptive information about the potential for curing the defects because the
  14 purported repairs do not fix the defect and the statements are designed to mislead
  15 dealers and technicians who repair Class Vehicles.
  16        27.    Defendant GM had knowledge of the Class Defect prior to the sale of
  17 the Class Vehicle to Plaintiffs. Further, Defendant GM took no action to alert
  18 Plaintiffs or the Class Members of the defect in the Class Vehicles prior to their
  19 purchase or after their purchase.
  20        28.    As of February 10, 2016, GM had verified at least some 19 affected
  21 vehicle models where the “CUSTOMER WILL NEED INCREASED EFFORT TO
  22 DEPRESS THE BRAKE PEDAL. TECHNICIAN MAY FIND FLUID IN THE
  23 BRAKE BOOSTER AND/OR THE BOOSTER LINE. TECHNICIAN WILL
  24 NEED TO REPLACE VACUUM PUMP, BRAKE BOOSTER, MASTER
  25 CYLINDER, VACUUM PUMP BELT AND VACUUM LINE BETWEEN THE
  26 BOOSTER AND THE PUMP.” (See Exhibit B.) The 19 affected vehicle models are
  27 the Class Vehicles which GM continued to sell without disclosure to the Class
  28 Members even after this admission.

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   1        29.    Disturbingly, the number of customer complaints echoed what GM
   2 already knew about its defective brake system: the need for increased effort to
   3 depress brake pedal, high occurrences in stop and go traffic, high occurrences of
   4 failure at lower speeds, brake booster issue, replacement of brake booster,
   5 replacement of master cylinder, safety issue, etc. (See Exhibit C.)
   6        30.    Further, Defendant GM knowingly sold thousands of Class Vehicles to
   7 unsuspecting Class Members to whom GM said nothing about the braking defect
   8 after its knowledge of the Class Defect.
   9        C.     Consumers Have Extensively Reported the Safety Hazard to GM.
  10        31.    The National Highway Traffic Safety Administration (“NHTSA”)
  11 provides a system for motor vehicle owners to report complaints relating to safety
  12 defects that pose a risk of accidents in vehicles manufactured or imported in the
  13 United States, including safety defects relating to brake malfunctions. The safety
  14 defect complaints are entered into the NHTSA consumer complaint automated
  15 database, which is accessible to manufacturers and are routinely reviewed by GM
  16 soon after the submission of each complaint. NHTSA also provides these consumer
  17 complaints to the vehicle manufacturers directly, including GM. Given the vast
  18 majority of owners of Class Vehicles are not aware of NHTSA and/or its reporting
  19 system, complaints received by NHTSA form an extremely small minority of the
  20 overall number of complaints which have been made to GM directly and/or through
  21 their authorized dealerships, including through the form of warranty repairs.
  22        32.    Since at least 2014, GM has received complaints of braking defects and
  23 safety concerns related to the loss of vacuum boost in the Class Vehicles through
  24 NHTSA, the Better Business Bureau, internet forums, GM’s franchised dealerships,
  25 and directly by owners of Class Vehicles.
  26        33.    Despite Defendant GM’s wealth of knowledge relating to the Class
  27 Defect in the Class Vehicle’s defective braking system and its clear safety
  28 implications, GM has and continues to suppress and conceal this knowledge and has

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   1 failed to disclose that its Class Vehicles’ braking systems are defective and
   2 dangerous. Consumers continue to operate Class Vehicles and continue to
   3 experience dangerous failures of the defective braking system, and are at increased
   4 risk for crashes.
   5        34.   Consumers have submitted individual NHTSA complaints regarding
   6 Class Vehicles consistent with a loss of brake boost as described in GM’s TSBs.
   7 These consumer complaints filed with the NHTSA, and delivered to GM, often
   8 highlight the safety risk caused by the defect, including reports of collisions and
   9 near-misses, as well as expressions of concern for drivers’ families—without
  10 concern and resolution by GM. GM received and were aware of these consumer
  11 complaints. Many of these complaints are reprinted in the paragraphs below.
  12        35.   A consumer complaint dated 10/9/2014 and submitted to NHTSA
  13 states the following regarding a Class Vehicle: THE ABS ENGAGES AT SLOW
  14 SPEEDS INCLUDING DRY CONDITIONS, LEADING TO TOTAL LOSS OF
  15 BRAKING AND INCREASED STOPPING DISTANCES. *TR.
  16        36.   A consumer complaint dated 1/15/2015 and submitted to NHTSA
  17 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
  18 2015 CHEVROLET TAHOE. WHILE DRIVING AT 45 MPH, THE SERVICE
  19 BRAKE ASSIST WAS DISPLAYED ACROSS THE MESSAGE BOARD. IN
  20 ADDITION, THE CONTACT STATED THAT THE BRAKE PEDAL WAS
  21 DEPRESSED AND IT TOOK A GREATER AMOUNT OF TIME FOR THE
  22 VEHICLE TO COME TO A COMPLETE STOP. THE FAILURE RECURRED
  23 ON NUMEROUS OCCASIONS. THE VEHICLE WAS TAKEN TO A DEALER
  24 BUT WAS NOT DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
  25 NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS 16,562.
  26 UPDATED 6/18/15*CN UPDATED 10/12/2017*CN.
  27        37.   A consumer complaint dated 11/13/2015 and submitted to NHTSA
  28 states the following regarding a Class Vehicle: THE VEHICLE HAD VIRTUALLY

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   1 NO BRAKES TO STOP IT AND 11,215 MILES. GENERAL MOTORS
   2 ALREADY HAD SERVICE WARNINGS OUT TO DEALERS DATED
   3 7/17/2015, GM DOCUMENT ID #4242788. THEY SAY THEY REPLACED
   4 PADS AND ROTORS. AT 23,589 MILES THE VEHICLE NEEDED BRAKES
   5 AGAIN. SERVICE MANAGER TELLS US THAT THIS IS A KNOWN
   6 PROBLEM AT GENERAL MOTORS. THEY HAVE EVEN ISSUED A NEW
   7 WARNING FOR 2016 MODELS. I CONSIDER THE VEHICLE TO BE UNSAFE
   8 TO DRIVE IN THAT THE BRAKES CAN GO OUT WITHOUT ANY
   9 WARNING.
  10       38.   A consumer complaint dated 1/4/2016 and submitted to NHTSA states
  11 the following regarding a Class Vehicle: THE VEHICLE HAD VIRTUALLY NO
  12 BRAKES TO STOP IT AND 11,215 MILES. GENERAL MOTORS ALREADY
  13 HAD SERVICE WARNINGS OUT TO DEALERS DATED 7/17/2015, GM
  14 DOCUMENT ID #4242788. THEY SAY THEY REPLACED PADS AND
  15 ROTORS. AT 23,589 MILES THE VEHICLE NEEDED BRAKES AGAIN.
  16 SERVICE MANAGER TELLS US THAT THIS IS A KNOWN PROBLEM AT
  17 GENERAL MOTORS. THEY HAVE EVEN ISSUED A NEW WARNING FOR
  18 2016 MODELS. I CONSIDER THE VEHICLE TO BE UNSAFE TO DRIVE IN
  19 THAT THE BRAKES CAN GO OUT WITHOUT ANY WARNING.
  20       39.   A consumer complaint dated 2/10/2016 and submitted to NHTSA
  21 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
  22 2015 GMC YUKON. WHILE DRIVING VARIOUS SPEEDS, THE BRAKE
  23 PEDAL WAS APPLIED AND THE VEHICLE FAILED TO STOP. THE BRAKE
  24 PEDAL HAD TO BE PUMPED SEVERAL TIMES TO STOP THE VEHICLE.
  25 THE VEHICLE WAS TAKEN TO THE DEALER WERE IT WAS DIAGNOSED
  26 THAT THE BRAKE BOOSTER NEEDED TO BE ADJUSTED. THE VEHICLE
  27 WAS REPAIRED, BUT THE FAILURE RECURRED. THE VEHICLE WAS
  28 TAKEN BACK TO THE DEALER WHERE THE BRAKE FAILURE WAS

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   1 DUPLICATED AND DIAGNOSED THAT THE BRAKE BOOSTERS NEEDED
   2 TO BE REPLACED. THE MANUFACTURER WAS NOTIFIED OF THE
   3 FAILURE. THE FAILURE MILEAGE WAS 35,000.
   4       40.   A consumer complaint dated 7/4/2016 and submitted to NHTSA states
   5 the   following   regarding   a   Class   Vehicle:   TRAILER   BRAKE    ASSIST
   6 MALFUNCTION         DURING        TRIP    WHILE      DRIVING   WITH    TRAILER
   7 CONNECTED ON HIGHWAY NO PROBLEM AFTER ENDING TRIP AND
   8 DISCONNECTING TRAILER BRAKE ASSIST WARNING LIGHT APPEARED
   9 AND 1ST GLANCE BRAKES SEEMED FINE BUT FINAL PEDAL PRESSURE
  10 IS VERY STIFF ALMOST CAN'T STOP SUV
  11       41.   A consumer complaint dated 8/2/2016 and submitted to NHTSA states
  12 the following regarding a Class Vehicle: BRAKES COMPLETELY FAILED. I
  13 PULLED INTO TRAIN PARKING SPOT AND THE CARS WOULD NOT STOP.
  14 I HAD TO KEEP PUMPING THE BRAKES AND EVENTUALLY IT JUST
  15 STOPPED. I TRIED IT GAIN AND THE BRAKES WERE HARD AND
  16 COULDN'T PUSH THEM DOWN. I AM SO LUCKY THAT I WAS NOT ON A
  17 HIGHWAY GOING FAST WITH MY KIDS IN THE CAR. CADILLAC SAID I
  18 NEEDED THE HYDRO BOOST REPLACED.
  19       42.   A consumer complaint dated 9/7/2016 and submitted to NHTSA states
  20 the following regarding a Class Vehicle: I AM WRITING ABOUT MY 2015
  21 CHEVY SUBURBAN. I OWN A LIMOUSINE SERVICE AND USE THE
  22 SUBURBAN IN MY FLEET. YESTERDAY A DRIVER, WITH PASSENGERS,
  23 HAD A TOTAL FAILURE OF THE POWER BRAKING SYSTEM. IT IS AT A
  24 LOCAL REPAIR SHOP NOW, AND I AM BEING TOLD THE AIR PUMP HAD
  25 BROKEN APART, INSIDE, SNAPPED THE FAN BELT RESULTING IN NO
  26 VACUUM GETTING TO THE POWER BRAKE SYSTEM. MY DRIVER WAS
  27 BARELY ABLE TO STOP THE VEHICLE BEFORE REAR ENDING
  28 ANOTHER CAR ON THE HIGHWAY. THE VEHICLE HAS 54,000 MILES

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   1 AND I AM BEING TOLD IS OUT OF THE BUMPER TO BUMPER
   2 WARRANTY. THERE ARE ALSO NO OPEN RECALLS. I AM REPORTING
   3 THIS ISSUE TO THE NHTSA AND THE MASSACHUSETTS ATTORNEY
   4 GENERAL'S OFFICE, AS I BELIEVE THIS IS AN IMMEDIATE DANGER TO
   5 THE GENERAL MOTORING PUBLIC. I JUST CONTACTED CHEVROLET BY
   6 PHONE AND EMAIL. THE REPRESENTATIVE ON THE PHONE SAID ALL
   7 SHE COULD TELL ME IS THAT IT'S OUT OF WARRANTY, THERE WERE
   8 NO RECALLS, AND I AM BASICALLY ON MY OWN TO REPAIR. I HOPE
   9 YOU ARE ABLE TO INVESTIGATE THIS SITUATION, IDENTIFY THE
  10 CAUSE OF THIS FAILURE, AND COME UP WITH A REMEDY FOR THE
  11 SAFETY OF EVERYONE.
  12       43.   A consumer complaint dated 10/14/2016 and submitted to NHTSA
  13 states the following regarding a Class Vehicle: BRAKES STOPPED WORKING .
  14 FIRST TIME IT HAPPENED I THOUGHT IT WAS MY IMAGINATION AS I
  15 WAS IN A PARKING LOT GOING EXTREMELY SLOW. NEXT DAY IT
  16 HAPPENED WHEN BACKING OUT OF MY DRIVEWAY. HAD TO PRESS
  17 BRAKES EXTREMELY HARD AND IT ROLLED TO A STOP AS IT HIT
  18 CURB ON OTHER SIDE OF ROAD. TOOK IT TO DEALER AND THEY
  19 REPLACE THE VACUUM BOOSTER WHICH HAD FAILED AT APROX.
  20 50,000 MILES. NOT COVERED UNDER WARRANTY. EVERY OTHER PART
  21 OF BRAKES BESIDES NORMAL WEAR AND TEAR IS COVERED. I WAS
  22 LUCKY IT HAPPENED IN MY DRIVEWAY AND NOT WHILE DRIVING AT
  23 HIGHER SPEEDS IN TRAFFIC. I HAVE ADDITIONAL COMPLAINTS
  24 ABOUT THIS VEHICHLE. THE CLIPS HOLDING DRIVERS SEAT HAD TO
  25 BE REPLACED AT 40,000 MILES BECAUSE SEAT WAS SLIDING FROM
  26 SIDE TO SIDE. THEY ARE ALL READY LOOSE AGAIN AT 60,000 MILES
  27 ALTHOUGH NOT AS BAD AS FIRST TIME. MY AC CONDENSER WENT
  28 OUT AT 62,000 MILES. IT HAS BEEN ON NATIONAL BACKORDER FOR 7

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   1 WEEKS AND I AM STILL WAITING. THE CAR SHAKES ON THE
   2 INTERSTATE AT APROX 70 -75 MILES PER HOUR. THE DEALERSHIP HAS
   3 BALANCED THE TIRES AND THIS HAS NOT FIXED PROBLEM. AFTER
   4 DRIVING ON INTERSTATE AT HIGH SPEEDS FOR EXTENDED PERIOD OF
   5 TIME, WHEN STOPPING THE CAR IDLES VERY ROUGH AND HAS EVEN
   6 CUT OFF. THE DEALERSHIP RAN A FUEL INDUCTION SERVICE. WILL
   7 SEE IF IT WORKS WHEN I GET IT BACK AFTER THEY REPLACE AC
   8 CONDENSER. THE CAR SHIFTS HORRIBLY, ESPECIALLY WHEN GOING
   9 SLOW. WAS TOLD THAT IS A PROBLEM WITH THE FUEL EFFICIENT
  10 SHIFTING AND THERE IS NO REPAIR...JUST TO MANUALLY SHIFT.
  11 ALSO, THE HOOD OF THE CAR HAS TINY RUST SPOTS COMING
  12 THROUGH THE PAINT ALL OVER IT.
  13       44.   A consumer complaint dated 11/28/16 and submitted to NHTSA states
  14 the following regarding a Class Vehicle: I HAVE A 2015 CHEVY. SUBURBAN
  15 LT THE BRAKE PEDAL IS HARD TO PRESS AND THE CAR CONTINUE TO
  16 ROLL EVEN AFTER I APPLY THE BRAKE DESPITE THE ROTOR AND ALL
  17 THE PADS HAVE BEEN REPLACED.....THIS IS VERY DANGEROUS.
  18       45.   A consumer complaint dated 12/1/2016 and submitted to NHTSA
  19 states the following regarding a Class Vehicle: THE BRAKES POWER ASSIST
  20 FAILS AFTER APPLICATION OF BRAKES IN TRAFFIC OR WHEN
  21 REVERSING. WHEN IN HEAVY TRAFFIC SITUATION AND WHEN
  22 APPLYING LIGHT PRESSURE NUMEROUS TIMES, THE BRAKES POWER
  23 ASSIST FAILS AND YOU HAVE TO APPLY VERY HEAVY PRESSURE TO
  24 THE PEDAL TO STOP. REVERSING, THE BRAKES POWER ASSIST FAILS
  25 ALMOST IMMEDIATELY AFTER INITIAL BRAKE APPLICATION.
  26       46.   A consumer complaint dated 1/15/17 and submitted to NHTSA states
  27 the following regarding a Class Vehicle: SOME TIME WHEN I BRAKE, THE
  28 CAR DO NOT STOP IMMEDIATELY IS SLIGHTING BEFORE STOPPING BY

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   1 BRAKE, AND BACKWARD DRIVING THE CAR DO NOT WANT TO STOP
   2 AND AFTER, DRIVING AGAIN REGULARLY IS FINE I HAD THE CAR IN
   3 SERVICE THEY SAY THE CAR IS FINE...........I TOUGH MAYBE I HAVE TO
   4 RENEW THE BRAKE BUT NO BRAKE ARE FINE. THIS PROBLEM BEGAN
   5 ON JANUARY 1017 UNTIL NOW, BUT IN PERIOD OF COMING AND GO. I
   6 ASK THE SERVICE IS ANY RECALLS? THEY TOLD ME" SUBURBAN DO
   7 NOT HAVE ANY "RECALLS"
   8       47.   A consumer complaint dated 2/28/2017 and submitted to NHTSA
   9 states the following regarding a Class Vehicle: WHILE DRIVING HER VEHICLE
  10 TODAY MY WIFE DEPRESSED HER BRAKE TO STOP AND SHE SAID THE
  11 BRAKE FELT LIKE PUSHING ON A RUBBER TIRE. THE CAR WOULD NOT
  12 STOP CAUSING HER TO RUN A STOP SIGN AND HIT ANOTHER VEHICLE.
  13 WE HAD THE SAME PROBLEM LAST MONTH AND THE VEHICLE WAS
  14 TAKEN       TO   THE    CHEVROLET       DEALERSHIP      AND     "REPAIRED"
  15 ACCORDING TO THE CURRENT SAFETY BULLETIN ISSUED BY
  16 CHEVROLET. THIS COLLISION CAUSED THE OTHER PERSON TO GO TO
  17 THE HOSPITAL VIA EMS AND MY WIFE WAS TAKEN BY POV TO ER FOR
  18 EVALUATION. OBVIOUSLY WHATEVER "FIX" WAS DONE BY THE
  19 DEALERSHIP WAS NOT THE CAUSE OF THE PROBLEM. I WAS TOLD THE
  20 VACUUM ASSIST PUMP AND HOSES WERE REPLACED, BUT THE
  21 VEHICLE STILL HAD THE SAME ISSUE.
  22       48.   A consumer complaint dated 4/8/2017 and submitted to NHTSA states
  23 the following regarding a Class Vehicle: I WAS ON SLOPE HILL. MY BRAKES
  24 ARE NOT RESPONDING. I PUT IN NEW BRAKES 2 MONTHS AGO AND
  25 BRAKES NOT RESPONDING? MY CAR ALMOST WENT DOWN THE HILL. I
  26 CALLED ROADSIDE ASSISTANCE AND HAD THEM TOWED MY CAR TO
  27 DEALERSHIP. THEY FOUND THE ISSUE VACUUM PUMP BROKE. ALSO
  28 MY TRANSMISSION HAVING ISSUE SINCE 2 MONTHS. THEY STILL

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   1 HAVEN'T FOUND ISSUES. I CAN'T CONTROL MY SPEED AND ENGINE
   2 GIVES A KICK WHEN ENTERING HIGHWAY. THEY WON'T REPAIR THIS
   3 ISSUE BECAUSE THEIR "MECHANICS" CANNOT FIND THE ISSUE. THIS IS
   4 THIS WORST VEHICLE TO DRIVE ANDUNSAFE FOR DRIVERS AND
   5 PASSENGERS.
   6       49.   A consumer complaint dated 6/17/2017 and submitted to NHTSA
   7 states the following regarding a Class Vehicle: BRAKE BOOSTER WENT OUT
   8 WHILE DRIVING WITH MY CHILDREN IN THE CAR!
   9       50.   A consumer complaint dated 6/28/2017 and submitted to NHTSA
  10 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
  11 2016 CHEVROLET SILVERADO 1500. WHEN THE BRAKE PEDAL WAS
  12 DEPRESSED, THE VEHICLE LOST BRAKE FUNCTIONALITY. THE
  13 FAILURE OCCURRED WITHOUT WARNING. THE VEHICLE WAS TAKEN
  14 TO HILLTOP CHEVROLET WHERE IT WAS DIAGNOSED THAT THE
  15 VACUUM PUMP WAS FAULTY. THE VEHICLE WAS REPAIRED. THE
  16 MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE FAILURE
  17 MILEAGE WAS APPROXIMATELY 23,367.
  18       51.   A consumer complaint dated 6/29/2017 and submitted to NHTSA
  19 states the following regarding a Class Vehicle: WHILE DRIVING ON I90 IN STOP
  20 AND GO TRAFFIC, THE CAR IN FRONT OF ME STOPPED. I APPLIED MY
  21 BRAKES AND THE PEDAL WAS HARD AND WOULD NOT DEPRESS. AS A
  22 RESULT MY CAR WOULD NOT STOP AND I HIT THE CAR IN FRONT OF
  23 ME IN THE REAR END. MY AIR BAGS WENT OFF. I RECEIVED AN AIR
  24 BAG BURN. THE CAR IN FRONT OF ME STRUCK THE CAR IN FRONT OF
  25 HIM. BOTH OTHER DRIVERS CLAIM THEY WERE INJURED. MY CAR
  26 COST $15,300 TO REPAIR. CHEVROLET IS AWARE OF THIS PROBLEM,
  27 ISSUING     PRELIMINARY       SERVICE      BULLETIN     PIT5361    IN   2015,
  28 ADDENDUM B IN 2016 AND ADDENDUM B IN 2017. THE PROBLEM IS A

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   1 FAULTY VACUUM PUMP, MASTER CYLINDER, BRAKE BOOSTER,
   2 VACUUM LINE, AND VACUUM PUMP BELT. I WAS NEVER INFORMED
   3 OF THIS PROBLEM. I HAVE BEEN DRIVING 50 YEARS AND THIS IS MY
   4 FIRST CHARGEABLE ACCIDENT.
   5       52.   A consumer complaint dated 7/16/2017 and submitted to NHTSA
   6 states the following regarding a Class Vehicle: WHILE EXITING THE OHIO
   7 TURNPIKE,      MY   BRAKE     PEDAL     BEGAN     TO   STOP    DEPRESSING
   8 COMPLETELY- TO THE POINT WHERE I COULDN'T PUSH DOWN AT ALL.
   9 IT FELT LIKE AN OVER-PUMPED KEG. AS I CONTINUED MY EXIT
  10 TOWARD THE TOLL BOOTH, IT SEEMED THAT THE ABS WERE
  11 ENGAGING, BUT I WASN'T IN AN EMERGENCY BRAKING SITUATION.
  12 THE REST OF MY JOURNEY HOME WAS UNEVENTFUL, UNTIL I
  13 ARRIVED HOME. I PULLED INTO MY GARAGE, AND ATTEMPTED TO
  14 BACK OUT SO I CHECK UNDER THE VEHICLE TO MAKE SURE THERE
  15 WASN'T ANYTHING LEAKING. AS I BACKED OUT, MY BRAKES WOULD
  16 NOT ENGAGE PROPERLY AGAIN AND MY CAR ROLLED BACK DOWN
  17 MY DRIVE WAY. THE CAR STOPPED AND I PARKED IT WHERE IT WAS.
  18 LATER IN THE DAY, I WAS ABLE TO PULL THE CAR INTO MY GARAGE
  19 WITHOUT INCIDENT. I TOOK THE CAR TO CHESROWN GMC (THE
  20 DEALERSHIP WHERE I PURCHASED THE VEHICLE). THEY ADVISED
  21 THEY HAD NEVER HEARD OF SUCH A SITUATION AND HAD ME BEING
  22 VEHICLE TO THEM. I COULDN'T REPLICATE THE ISSUE WITH THEM,
  23 BUT LEFT THE CAR WITH THEM SO THEY COULD CHECK IT OUT FOR
  24 ISSUES. THEY REPLACED THE THE BRAKE VACUUM PUMP. TODAY
  25 (7/31/17), THE BRAKES STARTED TO BEHAVE IN THE SAME MANNER AS
  26 WHEN THEY FAILED ON 7/16/17.
  27       53.   A consumer complaint dated 8/11/2017 and submitted to NHTSA
  28 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A

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   1 2016 CHEVROLET SILVERADO 1500. WHILE OPERATING ON AN INCLINE,
   2 THE BRAKE PEDAL WAS DEPRESSED BUT FAILED TO RESPOND. THE
   3 FAILURE OCCURRED WITHOUT WARNING. KENNY ROSS CHEVROLET
   4 BUICK GMC (LOCATED AT 11250 US-30, NORTH HUNTINGTON, PA) WAS
   5 CONTACTED AND UPDATED THE SOFTWARE AND TRANSMISSION. THE
   6 MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE FAILURE
   7 MILEAGE WAS APPROXIMATELY 18,025.
   8       54.   A consumer complaint dated 8/13/2017 and submitted to NHTSA
   9 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
  10 2015 CHEVROLET TAHOE. THE CONTACT STATED THAT WHILE
  11 DRIVING AT 5 MPH, THE BRAKE PEDAL WAS APPLIED BUT FAILED TO
  12 RESPOND WITHOUT WARNING. THE VEHICLE WAS TOWED TO A
  13 LOCAL DEALER: COUGHLIN FORD OF CIRCLEVILLE LOCATED AT 24001
  14 US HIGHWAY 23 S CIRCLEVILLE OH 49113 WHERE IT WAS DIAGNOSED
  15 THAT THE BRAKE SENSOR NEEDED TO BE REPLACED. THE VEHICLE
  16 WAS REPAIRED BUT THE FAILURE RECURRED. THE VEHICLE WAS
  17 THEN TOWED TO HARE CHEVROLET LOCATED AT 2001 STONY CREED
  18 RD NOBLESVILLE IN 46060 WHERE IT WAS DIAGNOSED THAT THE
  19 VACUUM PUMP NEEDED TO BE REPLACED. THE VEHICLE WAS
  20 REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE AND
  21 OPENED CASE # 8-31775454 BUT DID NOT OFFER ANY FURTHER
  22 ASSISTANCE. THE FAILURE MILEAGE WAS 31,000.
  23       55.   A consumer complaint dated 8/18/2017 and submitted to NHTSA
  24 states the following regarding a Class Vehicle: THE BRAKES ON MY 2015
  25 CHEVY SUBURBAN ARE LOCKING WHEN DRIVING A LOW SPEED. THE
  26 PROBLEM STARTED ALL OF THE SUDDEN WHILE DRIVING UNDER DRY
  27 ROAD CONDITIONS ON A CITY STREET. IF YOU PRESS ON THE BRAKE
  28 PEDAL , IT DOES NOT MOVE AND THE CAR DOES NOT STOPPED. I

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   1 ALMOST HIT A FAMILY OF 4 THAT WAS CROSSING IN FRONT OF ME.
   2 THE CAR HAS BEEN AT DICK BEARD CHEVROLET IN HYANNIS, MA
   3 AND THEY ARE SAYING THAT THERE IS NO ISSUE WITH THE BRAKES
   4 AND AVOIDING SOLVING THE PROBLEM. I'VE CALLED CHEVROLET 4
   5 TIMES AND THEY ARE NOT CALLING ME BACK. THE CAR IS NOT SAFE
   6 TO DRIVE AT ALL.
   7       56.   A consumer complaint dated 9/4/2017 and submitted to NHTSA states
   8 the following regarding a Class Vehicle: WHILE DRIVING ON THE ROAD IN
   9 TRAFFIC I WENT TO PRESS ON THE BRAKES AND NOTICED THEY HAD
  10 BECOME STIFF AND HAD TO PRESS THEM AS HARD AS POSSIBLE TO
  11 SLOWLY STOP WHILE TRYING TO AVOID HITTING ANOTHER VEHICLE
  12 IN TRAFFIC. NO WARNING LIGHTS WERE ON IN THE DASH UNTIL I
  13 PULLED OVER AND RESTARTED VEHICLE A COUPLE OF TIMES. THEN I
  14 GOT THE ACTIVE BRAKE ASSIST SERVICE LIGHT ON. I HAD THE
  15 VEHICLE TOWED TO THE NEAREST CHEVROLET SERVICE CENTER DUE
  16 TO THE VEHICLE NOT SAFE TO DRIVE.
  17       57.   A consumer complaint dated 9/10/2017 and submitted to NHTSA
  18 states the following regarding a Class Vehicle: WHEN APPLYING THE BRAKES
  19 MY CAR DOESN'T STOP 100% OF THE TIME. 1 TIME DURING HIGHWAY
  20 SLOW MOVING TRAFFIC, 3 TIMES BACKING OUT OF MY DRIVEWAY
  21 (FLAT SURFACE), 4 TIMES WHEN ON INCLINE/DECLINE OF ROAD.
  22 WHEN APPLYING BRAKES, HORRIBLE CHATTERING VIBRATION
  23 COMES FROM LEFT FRONT TIRE AREA, CHATTER VIBRATION IS FELT
  24 IN BRAKE PEDAL. NO MATTER HOW HARD I APPLY THE BRAKE THE
  25 CAR KEEPS GOING - IT WILL FINALLY STOP, BUT I ALMOST HIT THE
  26 CAR IN FRONT OF ME AT THE ONE HIGHWAY OCCURRENCE, 2 TIMES
  27 CAR FINALLY STOPPED JUST BEFORE GOING OVER EDGE OF
  28 PROPERTY WHEN PULLING FORWARD & BACKWARD TO TURN

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   1 AROUND IN TIGHT AREA. IN EACH INSTANCE I AM MOVING AT A VERY
   2 SLOW SPEED. I CONTACTED DEALERSHIP, THEY TOLD ME I WASN'T
   3 THE ONLY ONE CALLING ABOUT THIS HAPPENING BUT SINCE I'M
   4 OVER 36,000 WARRANTY THEY WILL CHARGE ME TO CK IT OUT,
   5       58.   A consumer complaint dated 9/22/2017 and submitted to NHTSA
   6 states the following regarding a Class Vehicle: AS I WAS SITTING IN THE
   7 VEHICLE IN PARK, I PLACED MY FOOT ON THE BRAKE AND NOTICED
   8 THAT THE BRAKE ASSIST HAD ACTIVATED WHILE IN PARK. I WAS
   9 UNABLE TO PUSH THE PETAL DOWN. I WAS ABLE TO MOVE THE
  10 SHIFTER INTO DRIVE WITH MY FOOT ON THE BRAKE, BUT THE
  11 VEHICLE IMMEDIATELY PLUNGED FORWARD. AS I CONTINUED TO
  12 TRY AND DEPRESS THE BRAKE PETAL, THE VEHICLE FINALLY
  13 SLOWED TO A STOP. BEFORE I COULD GET OFF THE ROAD AND OUT OF
  14 TRAFFIC, THE BRAKE ASSIST CONTINUED TO BE LOCKED UP AND
  15 THERE WAS NO BRAKES IF I SHIFTED INTO REVERSE. I WAS
  16 EXTREMELY CONCERNED FOR MINE AND MY CHILDREN'S SAFETY AS
  17 THIS COULD HAVE CAUSED A VERY SERIOUS ACCIDENT. THE BRAKES
  18 DID NOT STOP THE VEHICLE AND WERE DEFECTIVE DUE TO THE
  19 VACUUM PUMP "GOING OUT". THE VEHICLE IS ONLY 2 YEARS OLD
  20 AND HAS 49K MILES.
  21       59.   A consumer complaint dated 9/26/2017 and submitted to NHTSA
  22 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
  23 2015 CHEVROLET SUBURBAN. WHILE EXITING THE PARKING LOT AT 5
  24 MPH, THE BRAKES FAILED TO WORK WITHOUT WARNING. THE
  25 CONTACT HAD TO CHANGE THE GEAR TO PARK IN ORDER TO STOP
  26 THE VEHICLE. THE VEHICLE WAS TOWED TO THE DEALER (BOB PRICE
  27 CHEVROLET BUICK GMC, 1225 S STATE HWY 16, FREDERICKSBURG, TX
  28 78624) WHERE IT WAS DIAGNOSED THAT THE BRAKE BOOSTER AND

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   1 THE BRAKE PUMP NEEDED TO BE REPLACED. THE VEHICLE WAS NOT
   2 REPAIRED.     THE    MANUFACTURER          WAS   NOT    CONTACTED.          THE
   3 APPROXIMATE FAILURE MILEAGE WAS 51,800.
   4       60.   A consumer complaint dated 10/4/2017 and submitted to NHTSA
   5 states the following regarding a Class Vehicle: HARD BRAKE PEDAL,
   6 INCREASED EFFORT IS NEEDED TO DEPRESS BRAKE PEDAL. MOST
   7 COMMONLY AT SPEEDS <35 MPH. OFTEN VEHICLE DOES NOT WANT TO
   8 STOP. VEHICLE WAS IN MODERATE MORNING RUSH HOUR TRAFFIC.
   9 VEHICLE IN FRONT STOPPED QUICKLY FROM 40 MPH. TRIED PRESSING
  10 BRAKE PEDAL ON 2015 TAHOE TO STOP, PEDAL WAS EXTREMELY
  11 HARD AND VEHICLE WOULD NOT STOP.
  12       61.   A consumer complaint dated 10/9/2017 and submitted to NHTSA
  13 states the following regarding a Class Vehicle: MY 2015 SUBURBAN WITH
  14 APPROX 80K MILES, STARTED HAVING BRAKE PROBLEMS WHEN I
  15 WOULD DRIVE IN REVERSE. THE BRAKES HAD A GRINDING NOISE AND
  16 WAS GETTING HARD TO PRESS. THE BRAKE PADS WERE REPLACED
  17 AROUND 46K MILES AS I BOUGHT THE VEHICLE USED FROM
  18 ENTERPRISE SALES. THE BRAKES EVENTUALLY GOT WORSE AND HAD
  19 THE BRAKE ASSIST MESSAGE ON DASH COME UP. IF I HAD TO USE THE
  20 BRAKES TOO MANY TIMES AT INE TIME LIKE IF I HAD TO GO OVER
  21 SPEED BUMPS IN MY NEIGHBORHOOD, THEN THE BRAKES WOULD BE
  22 EXTREMELY HARD AND WOULD LOSE ALL POWER BRAKES. IF I KEPT
  23 THE VACUUM UP WITH A LITTLE RPM'S- ONE FOOT ON THE BRAKE
  24 AND ONE ON THE GAS, THEN I COULD GET THE POWER BRAKES TO
  25 WORK. NOW IT'S JUST TOTALLY GONE. NO POWER BRAKES AT ALL
  26 NOW AND ORDERED THE VACUUM BOOSTER AND WILL REPLACE IT
  27 MYSELF. I CALLED THE MAIN CHEVROLET HOTLINE AND THEY WERE
  28 TOTALLY WORTHLESS. I TOLD THEM ABOUT ALL THE NUMEROUS

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   1 COMPLAINTS POPPING UP ON THE INTERNET AND WITH SUBURBANS
   2 WITH MUCH LESS MILES THAN MINE AND TRIED TO SEE IF THEY HAD
   3 ANY RECALLS REGARDING THE BRAKES. THEY SAID NO. I SAID THEY
   4 SHOULD BE CONCERNED BEFORE IT ENDS UP KILLING SOMEONE.
   5       62.   A consumer complaint dated 10/26/2017 and submitted to NHTSA
   6 states the following regarding a Class Vehicle: WHILE DRIVING, THE DASH
   7 MESSAGE ALERTED ME THAT I NEEDED TO "SERVICE BRAKE ASSIST." I
   8 WAS NOT USING THE BRAKES, SO I STARTED TO SLOW DOWN AND
   9 THE BRAKES WORKED, BUT WHEN I CAME TO THE LIGHT, IT WAS LIKE
  10 PRESSING A ROCK AND THE PEDAL WOULD NOT PUSH DOWN. I HAD
  11 COMPLETE BRAKE FAILURE, BUT THANKFULLY HAD SLOWED
  12 ENOUGH BEFORE COMING TO THE LIGHT, THAT I COULD THROW THE
  13 CAR INTO PARK. I PULLED INTO A PARKING LOT AND TAPPED THE
  14 BRAKES SEVERAL TIMES, TURNED MY CAR OFF, TURNED IT BACK ON,
  15 PUT THE PARKING BRAKE ON AND OFF. THE BRAKES WORKED SO I
  16 BEGAN DRIVING VERY CAUTIOUSLY AND STUCK TO BACK ROADS
  17 AND STAYED UNDER 35 MPH. THE BRAKES FAILED TWICE MORE AT A
  18 STOP SIGN AND A RED LIGHT, WHILE I WAS DRIVING AT LOW SPEEDS.
  19 I DROVE THE CAR ONE MORE TIME A FEW HOURS LATER AND HAD
  20 COMPLETE BRAKE FAILURE EVERY TIME I TRIED TO STOP. I HAD TO
  21 EITHER THROW THE CAR INTO PARK, OR DRIVE INTO A PARKING LOT
  22 TO SLOW DOWN. I HAD IT TOWED TO A SERVICE CENTER AT THE
  23 CHEVY DEALERSHIP. THE VEHICLE IS UNDER 3 YEARS OLD, HAS
  24 ABOUT 60,000 MILES ON IT, HAS BEEN KEPT IN GREAT CONDITION, HAS
  25 ON TIME OIL CHANGES, NEVER BEEN IN AN ACCIDENT, AND HAS NEW
  26 TIRES. THE CAR HAD NO SQUEALING OR GRINDING TO SHOW WEAR
  27 AND TEAR, OR ANY OTHER INDICATOR THE BRAKES WOULD FAIL. THE
  28 DEALERSHIP MAINTAINS THAT THIS IS NOT COVERED BECAUSE WE

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   1 ARE OUT OF WARRANTY, HOWEVER, WE HAVE AN EXTENDED
   2 WARRANTY THAT WE ARE USING TO FIX THIS ISSUE. IT IS UNKOWN
   3 THE EXACT CAUSE, BECAUSE IT IS AT THE SHOP AWAITING
   4 DIAGNOSTICS.
   5       63.   A consumer complaint dated 10/31/2017 and submitted to NHTSA
   6 states the following regarding a Class Vehicle: WHILE REVERSING IN SLOW
   7 SPEEDS INTERMITTENTLY IN FORWARD MOTION, THE BRAKE PEDAL
   8 BECOMES VERY HARD AND WILL NOT STOP THE VEHICLE. THE BRAKE
   9 PEDAL HAS TO BE DEPRESSED VERY HARD AND THERE IS A
  10 VIBRATING MOTION. THE MASTER CYLINDER HAS ALREADY BEEN
  11 REPLACED BY THE DEALERSHIP AT AN EXPENSE OF NEARLY $600, BUT
  12 THE ISSUE PERSISTS.
  13       64.   A consumer complaint dated 11/2/2017 and submitted to NHTSA
  14 states the following regarding a Class Vehicle: I WAS DRIVING IN TRAFFIC
  15 GOING ABOUT 5MPH AND WHEN I APPLIED MY BRAKES THEY WERE
  16 NOT WORKING 100% I HAD TO PUSH THE PEDAL TO THE FLOOR AND
  17 THE TRUCK KEPT ROLLING. I HAD TO HAD TO FIGURE OUT A WAY TO
  18 SAFELY MOVE TO THE SHOULDER OF THE FREEWAY TO AVOID
  19 ACCIDENTS. I WAITED ON THE SHOULDER OF THE FREEWAY FOR
  20 ABOUT A HOUR FOR TRAFFIC TO STOP. I WAS FINALLY ABLE TO GET
  21 OFF THE FREEWAY SO I COULD CHECK THE BRAKE FLUID IT WAS
  22 FULL. I KNEW THERE WASN'T A PROBLEM WITH THE BRAKES
  23 BECAUSE THEY HAD JUST BEEN REPLACED THE PRIOR MONTH. I
  24 KNEW THE VEHILCE WAS NOT SAFE TO DRIVE HOME SO I LEFT THE
  25 TRUCK AT DAVIS CHEVROLET AT THEIR NIGHT DROP. I TALKED TO A
  26 SERVICE TECHNICIAN AND HE INFORMED ME THAT HE HAS SEEN THIS
  27 ISSUE A LOT WITH 2015 TAHOE'S, AND INFACT 3 2015 TAHOE'S WERE
  28 BROUGHT IN THE SAME DAY NOVEMBER 3,2017. BEFORE LOOKING AT

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   1 MY VEHICLE THE TECHNICIAN TOLD ME IT WAS THE VACUME PUMP
   2 BUT HE WOULD CALL ME BACK TO LET ME KNOW FOR CERTAIN.
   3 ONCE THEY LOOKED AT MY TRUCK HE SAID IT WAS THE VACUUM
   4 PUMP THAT NEEDED TO BE REPLACED AND IT WAS NOT UNDER
   5 WARRANTY. I DON'T UNDERSTAND HOW GM KNOWS ABOUT THIS
   6 ISSUE AND STILL DOES NOT RECALL IT, THIS CAN CAUSE MAJOR
   7 ACCIDENTS AND POTENTIALLY CAUSE A LIFE. IT'S OBVIOUS THERE IS
   8 A ISSUE WITH TJE VACUUME PUMPS IN TJE 2015 TAHOE'S AND GM
   9 NEEDS TO TAKE RESPONSIBILITY AND DO A RECALL BEFORE
  10 SOMEONE DIES BECAUSE THEIR BRAKES FAIL DUE TO A VACUUM
  11 PUMP NOT WORKING
  12       65.   A consumer complaint dated 11/4/2017 and submitted to NHTSA
  13 states the following regarding a Class Vehicle: UPON DRIVING IN LOW SPEED,
  14 DRY CONDITIONS, BUMPER TO BUMPER TRAFFIC (LESS THAN 10MPH),
  15 MY 2015 CHEVROLET TAHOE LTZ'S BRAKES BECAME UNRESPONSIVE.
  16 AT THAT POINT, I PUT ALL MY WEIGHT ON THE BRAKES AND THE CAR
  17 CAME TO AN UNCALCULATED STOP. THIS PROBLEM PERSISTED AND
  18 DID NOT REMEDY ITSELF. THE DEALERSHIP NOTIFIED ME THAT THERE
  19 WAS A FAULTY BRAKE VACUUM PUMP, AND BRAKE BOOSTER, AND
  20 THAT IT FAILED BECAUSE OF MOISTURE PENETRATION. FURTHER,
  21 GENERAL MOTORS HAS ISSUED TECHNICAL BULLETIN PIT 5361A/B/C
  22 TO ADDRESS THIS KNOWN ISSUE. MY TAHOE HAS 59,000 MILES ON IT.
  23 AFTER FURTHER RESEARCH, THIS IS A KNOWN ISSUE BY GM AT THE
  24 TIME OF MY VEHICLE PURCHASE IN DECEMBER 2014 AND FURTHER,
  25 HAS BEEN ACKNOWLEDGED THROUGH TECHNICAL BULLETINS TO
  26 THE GM DEALERS. FURTHER, THERE ARE DOCUMENTED CASES
  27 WHERE INJURIES/WRECKS HAVE OCCURRED DUE TO THIS SPECIFIC
  28 ISSUE. THE GENERAL MOTORS COMPANY HAS BEEN NEGLIGENT IN ITS

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   1 HANDLING OF THIS IMPORTANT SAFETY (NOT COSMETIC) ISSUE.
   2       66.   A consumer complaint dated 11/11/2017 and submitted to NHTSA
   3 states the following regarding a Class Vehicle: WHILE DRIVING AT SLOW
   4 SPEED IN SCHOOL PARKING LOT BRAKE PEDAL FAILED TO STOP
   5 VEHICLE WHEN USING NORMAL BRAKE PRESSURE. PEDESTRIAN IN
   6 FRONT OF VEHICLE JUMPED OUT OF THE WAY TO AVOID BEING
   7 STRUCK.
   8       67.   A consumer complaint dated 11/16/2017 and submitted to NHTSA
   9 states the following regarding a Class Vehicle: PROBLEM STARTED AS
  10 BRAKES EXTREMELY DIFFICULT TO ACTIVATE WHEN TRAVELING IN
  11 REVERSE AT LOW SPEED (I AM APPROX 200 LBS AND HAD TO STAND
  12 ON BRAKES WITH EFFORT TO GET VEHICLE TO STOP). PROBLEM ALSO
  13 APPEARED IN LOW SPEED STOP AND GO OPERATION AS WELL AS
  14 WHEN BACKING AT A MODERATE SPEED OF APPROXIMATELY 10
  15 MILES PER HOUR. WE HAVE HAD AT LEAST ONE OTHER VEHICLE IN
  16 OUR FLEET EXPERIENCE THIS ISSUE. IT WAS DETERMINED TO BE A
  17 FAILED VACUUM PUMP ON THAT VEHICLE. THIS VEHICLE WAS TAKEN
  18 TO DEALER AND THEY WERE UNABLE TO REPLICATE ISSUE. I
  19 UNDERSTAND THERE IS A GM TECHNICAL BULLETIN INVOLVING THIS
  20 ISSUE BUT NO OIL WAS FOUND IN VACUUM LINES. THE VEHICLE IS
  21 OUTSIDE OF WARRANTY SO THERE IS CHARGES EACH TIME WE BRING
  22 VEHICLE BACK. I WAS TOLD TO BRING VEHICLE BACK IF PROBLEM
  23 BECOMES WORSE. I FEEL A FAILURE OF BRAKES IS AN EXTEREME
  24 SAFETY CONCERN IN NORMAL OPERATION AND ESPECIALLY IN HIGH
  25 SPEED EMERGENCY OPERATION OF THE VEHICLE. A SEARCH OF THE
  26 NHTSA SITE AS WELL AS INTERNET HAS REVELED NUMEROUS
  27 COMPLAINTS REGARDING THIS EXACT ISSUE. IT APPEARS THE
  28 COMMON REPLACEMENT IS THE BRAKE ASSIST AND VACUUM PUMP.

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   1       68.   A consumer complaint dated 11/19/2017 and submitted to NHTSA
   2 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   3 2015 CHEVROLET TAHOE. WHILE DRIVING APPROXIMATELY 25 MPH,
   4 THE STEERING WHEEL INADVERTENTLY PULLED TO THE RIGHT.
   5 WHILE ATTEMPTING TO DEPRESS THE BRAKE PEDAL, THE BRAKES
   6 FAILED TO STOP THE VEHICLE. AS A RESULT, THE CONTACT LOST
   7 CONTROL OF THE VEHICLE AND CRASHED INTO A PARKED VEHICLE.
   8 WHILE THE GEAR SHIFTER WAS IN REVERSE OR DRIVE, THE VEHICLE
   9 FAILED TO OPERATE. THE AIR BAGS DID NOT DEPLOY. THE TIRE
  10 PRESSURE AND EPS ASSIST WARNING INDICATORS ILLUMINATED. THE
  11 CONTACT SUSTAINED AN INJURY TO THE LOWER BACK, BUT NO
  12 MEDICAL ATTENTION WAS REQUIRED. A POLICE REPORT WAS NOT
  13 FILED. THE VEHICLE WAS TOWED TO NISSANI BROS. CHEVROLET (6101
  14 W SLAUSON AVE, CULVER CITY, CA 90230 (424) 216-7400), BUT IT HAD
  15 NOT BEEN DIAGNOSED. THE VEHICLE WAS NOT REPAIRED. THE
  16 CONTACT REFERENCED NHTSA CAMPAIGN NUMBER: 16V256000
  17 (SUSPENSION). THE MANUFACTURER WAS NOTIFIED OF THE FAILURE
  18 AND THE CONTACT WAS PROVIDED CASE NUMBER: 8-3571350184. THE
  19 CONTACT WAS ADVISED TO CALL NHTSA. THE APPROXIMATE
  20 FAILURE MILEAGE WAS 25,400.
  21       69.   A consumer complaint dated 12/8/2017 and submitted to NHTSA
  22 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
  23 2015 GMC YUKON. WHILE AT A DRIVE THRU WITH THE BRAKE PEDAL
  24 DEPRESSED TO THE FLOORBOARD, THE BRAKES FAILED. THE
  25 CONTACT HAD TO APPLY EXCESSIVE FORCE IN ORDER FOR THE
  26 VEHICLE     TO    STOP.   THERE     WERE    NO    WARNING      INDICATORS
  27 ILLUMINATED. THE VEHICLE WAS TAKEN TO STARLING CHEVROLET
  28 BUICK GMC (1001 E IRLO BRONSON MEMORIAL HWY, ST CLOUD, FL

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   1 34769, PHONE: (407) 892-5144), BUT THE CAUSE OF THE FAILURE COULD
   2 NOT BE DETERMINED. THE VEHICLE WAS NOT REPAIRED. THE
   3 MANUFACTURER WAS NOTIFIED AND STATED THAT THE FAILURE
   4 HAD TO BE DUPLICATED. THE APPROXIMATE FAILURE MILEAGE WAS
   5 42,000. THE VIN WAS NOT AVAILABLE.
   6       70.   A consumer complaint dated 12/12/2017 and submitted to NHTSA
   7 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   8 2015 CHEVROLET SUBURBAN. WHILE DRIVING APPROXIMATELY 40
   9 MPH, THE CONTACT ATTEMPTED TO APPLY THE BRAKES AND THE
  10 BRAKE PEDAL WOULD NOT DEPRESS. THE CONTACT HAD TO APPLY
  11 THE EMERGENCY BRAKE TO GET THE VEHICLE TO STOP. THE VEHICLE
  12 WAS NOT TAKEN TO THE DEALER. THE VEHICLE WAS DRIVEN TO AN
  13 INDEPENDENT MECHANIC WHERE IT WAS DIAGNOSED THAT THE
  14 MASTER BRAKE CYLINDER AND BRAKE BOOSTER FAILED. THE
  15 MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE VIN WAS
  16 UNKNOWN. THE FAILURE MILEAGE WAS 100,000.
  17       71.   A consumer complaint dated 12/16/2017 and submitted to NHTSA
  18 states the following regarding a Class Vehicle: BRAKES BECAME EXTREMELY
  19 STIFF, AND POWER ASSIST WAS LOST. VEHICLE IS VERY HARD TO
  20 STOP, NEARLY CAUSING AN ACCIDENT SEVERAL TIMES. TOOK
  21 VEHICLE TO A SERVICE SHOP, AND FOUND OUT THAT THE VACUUM
  22 PUMP WAS DEFECTIVE AND CAUSED OIL TO ENTER MY BRAKE
  23 VACUUM AND BRAKE LINES. HAD TO ALL BE REPLACED.
  24       72.   A consumer complaint dated 12/23/2017 and submitted to NHTSA
  25 states the following regarding a Class Vehicle: WHILE TRAVELING STRAIGHT
  26 AT 70 MPH ON THE HIGHWAY IN MY 2015 CHEVY SUBURBAN (62K
  27 MILES) THE VEHICLE EXPERIENCED A SUDDEN AND UNDETECTED
  28 COMPLETE BRAKE SYSTEM FAILURE. AS I APPROACHED SLOWING

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   1 TRAFFIC WITH THE CRUISE CONTROL ON, I TAPPED THE BRAKES TO
   2 DISENGAGE THE CRUISE CONTROL, ONLY TO FIND THAT THE BRAKE
   3 PEDAL WAS RIGID AND COULD NOT BE DEPRESSED. TO AVOID A
   4 COLLISION AT A HIGH RATE OF SPEED I SWERVED ONTO THE RIGHT
   5 SHOULDER WHILE USING TWO LEGS TO AGGRESSIVELY PUSH THE
   6 BRAKE PEDAL DOWN - ALL THE WHILE FEELING VERY LITTLE
   7 BRAKING ACTION. THE CAR CAME TO A STOP AFTER ABOUT 75
   8 METERS. AT NO TIME BEFORE OR DURING THE EVENT DID THE CAR
   9 SIGNAL A BRAKING SYSTEM PROBLEM. IN FACT IT STILL SHOWED NO
  10 SYSTEM INDICATOR OF A BRAKE PROBLEM 3 DAYS LATER WHEN IT
  11 WAS DELIVERED TO THE DEALER FOR DIAGNOSIS. THE CAR HAS BEEN
  12 WELL MAINTAINED, HAVING JUST UNDERGONE A 60K MILE SERVICE
  13 AT THE DEALERSHIP. THE LACK OF THE VEHICLE'S RECOGNITION
  14 THAT A CRITICAL FAILURE IN THE BRAKING SYSTEM HAD OCCURRED
  15 POSED A SERIOUS AND IMMEDIATE THREAT TO PASSENGERS AND
  16 SURROUNDING TRAFFIC. AS A PHYSICIAN I CAN ATTEST THAT A
  17 COLLISION AT THAT SPEED WOULD HAVE SEVERELY INJURED OR
  18 EVEN KILLED THOSE INVOLVED. THIS PROBLEM WITH THE 2015
  19 CHEVY SUB HAS REPORTED TO NHTSA BEFORE - THIS IS NOT AN
  20 ISOLATED EVENT. THE SERVICE CENTER REPORTED TO ME THAT A
  21 VACUUM PUMP FAILURE WAS TO BLAME - I BELIEVE THIS IS A MORE
  22 COMPLEX ENGINEERING PROBLEM IN THAT THE VEHICLE DID NOT
  23 DETECT A PROBLEM DESPITE THE FAILURE CREATING A LIFE
  24 THREATENING SCENARIO. ALTHOUGH I PLAN TO IMMEDIATELY
  25 DISPOSE OF THIS CAR, FAILURE TO ADDRESS THIS PROBLEM BY THE
  26 MANUFACTURER WILL PUT OTHERS AT RISK IN THE FUTURE. GM
  27 APPEARS TO HAVE ISSUED A SERVICE BULLETIN THAT REFERS TO
  28 THIS PROBLEM (ATTACHED). I SINCERELY BELIEVE THIS DEFECT WILL

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   1 RESULT IN LIVES LOST IF LEFT UNADDRESSED. INFORMATION
   2 REDACTED PURSUANT TO THE FREEDOM OF INFORMATION ACT
   3 (FOIA), 5 U.S.C. 552(B)(6).
   4       73.   A consumer complaint dated 12/28/2017 and submitted to NHTSA
   5 states the following regarding a Class Vehicle: I'M HAVING BRAKE BOOSTER
   6 FAILURE AT SLOW SPEEDS, THE BRAKE PETAL IS SUPER HARD TO
   7 PUSH DOWN AND IT ALMOST ISN'T ENOUGH TO MAKE THE TRUCK
   8 STOP ROLLING AT SLOW SPEEDS. TRUCK HAS RIGHT AT 43,XXX MILES
   9 ON IT AND IS NOT UNDER WARRANTY.
  10       74.   A consumer complaint dated 1/5/2018 and submitted to NHTSA states
  11 the following regarding a Class Vehicle: AS WE WERE DRIVING FROM
  12 ATLANTA TO MIAMI, WHEN WE WERE GETTING OFF THE HIGHWAY
  13 THE BRAKES ON OUR 2015 CHEVROLET SUBURBAN FAILED TO STOP
  14 AT 60 MILES PER HOUR, WE ALMOST REARED-ENDED AN EIGHTEEN-
  15 WHEELER; WITH OUR FAMILY OF FIVE AND OUR TWO DOGS ON
  16 BOARD! ALL FLUIDS HAD BEEN CHECKED ON THE CAR AND THE
  17 BRAKE PADS WERE RECENTLY CHANGED. WE JUST CALLED AND
  18 NOTIFIED CHEVROLET ABOUT THIS SAFETY ISSUE. WE ASKED IF
  19 THERE WERE ANY ISSUES AND/OR RECALLS ON OUR VEHICLE AND
  20 THE AGENT SAID THAT THERE WERE NO ISSUES OR RECALLS
  21 REGARDING THIS TYPE OF VEHICLE. WE MADE AN APPOINTMENT TO
  22 HAVE OUR CAR DIAGNOSED AS SOON AS POSSIBLE. AFTER
  23 RESEARCHING ONLINE WE FOUND NUMEROUS POSTS ON SEVERAL
  24 SITES FROM OTHER SUBURBAN OWNERS REPORTING THE SAME ISSUE
  25 WITH THEIR BRAKING SYSTEM NOT RESPONDING. WHAT WILL IT
  26 TAKE FOR CHEVROLET TO ACKNOWLEDGE THIS BRAKE FAILURE
  27 SYSTEM ISSUE?!?! SOMEONE TO GET KILLED?!?! PLEASE LOOK INTO
  28 THIS BRAKE FAILURE ISSUE AND ADDRESS IT PROMPTLY!!!

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   1       75.   A consumer complaint dated 1/12/2018 and submitted to NHTSA
   2 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   3 2015 GMC YUKON. WHILE DRIVING APPROXIMATELY 5 MPH, THE
   4 BRAKE PEDAL STIFFENED AND THE VEHICLE DID NOT STOP WHEN
   5 THE PEDAL WAS DEPRESSED. THERE WERE NO WARNING INDICATORS
   6 ILLUMINATED. THE CONTACT USED THE EMERGENCY BRAKE TO STOP
   7 THE VEHICLE. THE VEHICLE WAS TAKEN TO KEYES WOODLAND HILLS
   8 BUICK GMC (6133 TOPANGA CANYON BLVD, WOODLAND HILLS, CA
   9 91367) WHERE IT WAS DIAGNOSED THAT THE VACUUM PUMP FAILED
  10 AND DAMAGED THE ENTIRE BRAKING SYSTEM. THE TECHNICIAN
  11 REPLACED THE VACUUM PUMP AND THE ENTIRE BRAKING SYSTEM.
  12 THE MANUFACTURER WAS MADE AWARE OF THE FAILURE AND
  13 STATED THAT THERE WAS NO RECALL. THE FAILURE MILEAGE WAS
  14 40,500.
  15       76.   A consumer complaint dated 2/2/2018 and submitted to NHTSA states
  16 the following regarding a Class Vehicle: ISSUE REGARDING BRAKING
  17 SYSTEM AND INTERNAL FAILURE. COST TO REPAIR IS $1500 ON A 3
  18 YEAR OLD CAR. GM HAS BEEN AWARE OF THIS ISSUE SINCE 2015.
  19 THEY ARE ALSO DEFENDANTS IN A CLASS ACTION LAWSUIT
  20 REGARDING THE BRAKES AND THE CATASTROPHIC FAILURE THAT
  21 WILL EVENTUALLY RESULT IN DEATH.
  22       77.   A consumer complaint dated 2/6/2018 and submitted to NHTSA states
  23 the following regarding a Class Vehicle: MY 2015 CHEVROLET TAHOE LT
  24 WOULD NOT STOP APPROACHING A MAJOR INTERSECTION. BRAKE
  25 PEDAL BECAME HARD AND WOULD NOT COME TO A COMPLETE STOP
  26 AT A MAJOR CITY INTERSECTION, NEARLY CAUSING AN ACCIDENT. I
  27 WAS TOLD BY THE DEALERSHIP THAT THE VACUUM PUMP WILL NEED
  28 TO BE REPLACED AT MY EXPENSE AND IT IS A COMMON OCCURRENCE

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   1 ON THIS YEAR AND MODEL . NOT ONLY IS THIS A SAFETY ISSUE, ITS A
   2 COMMON PROBLEM AND A TECHNICAL BULLETIN HAS BEEN
   3 RELEASED FOR THE REPAIR. THIS VEHICLE IS OUT OF THE BUMPER TO
   4 BUMPER WARRANTY BUT IS STILL HOWEVER UNDER THE 1000,000
   5 DRIVE TRAIN WARRANTY. GM NEEDS TO ADDRESS THIS PROBLEM
   6 BEFORE SOMEONE GETS INJURED.
   7       78.   A consumer complaint dated 3/5/2018 and submitted to NHTSA states
   8 the following regarding a Class Vehicle: PLACING CAR IN REVERSE OR
   9 DRIVE AT SLOW SPEEDS AND PRESSING BRAKES ALL THE WAY TO
  10 THE FLOOR WITH THE VEHICLE NOT STOPPING. BRAKE SYSTEM
  11 WARNING LIGHT WOULD COME ON. ISSUE COMES AND GOES WHEN IT
  12 PLEASES. TAKING THE SUBURBAN TO DEALERSHIP TODAY. STARTED
  13 HAPPENING AROUND 59000 MILES
  14       79.   A consumer complaint dated 3/10/2018 and submitted to NHTSA
  15 states the following regarding a Class Vehicle: BRAKES GOT HARD WHEN
  16 DRIVING ONTO EXPRESSWAY TAHOE HAS ONLY 42000 MILES AND
  17 HEARD THERES BEEN ALOT OF ISSUES WITH THE VACUUM PUMP
  18 WHAT I HAVE READ.THERE NEEDS TO BE A RECALL
  19       80.   A consumer complaint dated 3/13/2018 and submitted to NHTSA
  20 states the following regarding a Class Vehicle: I BEEN HAVING MY TRUCK
  21 FOR 2 YEARS AND BRAKES KEEP GOING OUT AND THE AIR CONDITION
  22 KEEPS GOING OUT. I HAVE TWO FRIENDS THE SAME VEHICLE WITH
  23 THE SAME PROBLEMS. THIS IS RIDICULOUS I SEE NO RECALLS ON
  24 THAT. AND I'VE SEEN ON THE REVIEWS OF THIS VEHICLE AND ITS NOT
  25 JUST ME THERE'S PEOPLE OUT THERE WITH THE SAME PROBLEM THAT
  26 I AM HAVING. THIS COULD CAUSE A REALLY BAD ACCIDENT THE
  27 BRAKES KEEP GOING OUT I AM NOT THE ONLY ONE WITH THIS
  28 PROBLEM. PLEASE TAKE IN CONSIDERATION THAT EVERYONE HAS

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   1 FAMILIES. AND ACCIDENTS COULD CAUSE US TO LOSE OUR FAMILY
   2 JUST FOR A SIMPLE BRAKES THAT HAVE NOT BEEN RECALLED. AND
   3 ALSO, WE JUST CANNOT KEEP AFFORDING TO FIX THE AIR
   4 CONDITIONING THIS TRUCK IS NOT EVEN OLD ENOUGH TO BE GIVING
   5 US THESE PROBLEM. THANK YOU
   6       81.   A consumer complaint dated 3/23/2018 and submitted to NHTSA
   7 states the following regarding a Class Vehicle: IN OCTOBER 2017 WE
   8 EXPERIENCED BRIEF PERIODS WHERE BRAKE PEDAL BECAME RIGID
   9 AND IMPOSSIBLE TO DEPRESS. THE VEHICLE WAS TAKEN TO OUR
  10 LOCAL CHEVROLET DEALER. WE DESCRIBED IN DETAIL THE RIGID
  11 BRAKE PEDAL. THE DEALER WANTED TO DO PUT NEW BRAKE PADS
  12 AND TURN THE ROTORS. I THOUGHT IT WAS STRANGE THAT A
  13 VEHICLE WITH JUST OVER 40 THOUSAND MILES WOULD NEED NEW
  14 BRAKES, BUT WE HAD THE WORK DONE. THE DEALER ALSO WANTED
  15 TO REPLACE THE VACUUM HOSE WHICH POWERS THE BRAKE
  16 SYSTEM. THIS WORK WAS ALSO DONE. NEXT, ON FRIDAY MARCH 23,
  17 2018 WE WERE TRAVELING ON AN INTERSTATE AT A HIGH SPEED
  18 WHEN THE BRAKE PEDAL BECAME IMPOSSIBLE TO DEPRESS. WE
  19 WERE VERY FORTUNATE NOT TO CAUSE A SERIOUS ACCIDENT. I HAD
  20 TO HAVE IT TOWED TO A DEALER AND RENT A CAR. THE FOLLOWING
  21 WEEK WE WERE CONTACTED BY THE DEALER DOING THE REPAIRS.
  22 OUR SUBURBAN HAD A VACUUM PUMP FAILURE. THIS CAUSED TOTAL
  23 BRAKE FAILURE. AFTER SOME RESEARCH I DISCOVERED THAT THIS
  24 VEHICLE'S ENGINE DOES NOT PRODUCE ENOUGH VACUUM TO POWER
  25 THE BRAKES (UNLIKE EVERY OTHER VEHICLE ON THE ROAD). IN ANY
  26 OTHER CAR THE ONLY WAY YOU LOSE SUCTION FOR YOUR BRAKES IS
  27 IF THE ENGINE STOPS. IN OUR SUBURBAN THE ENGINE CAN BE
  28 RUNNING FINE AND YOU MAY OR MAY NOT HAVE BRAKES. THE

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   1 WARNING SYSTEM IS TOTALLY USELESS AS IT ISN'T TRIGGERED
   2 UNTIL YOU EXPERIENCE TOTAL BRAKE FAILURE WITHOUT ANY
   3 WARNING. WHILE THE VEHICLE WAS IN THE SERVICE DEPARTMENT
   4 HAVING VACUUM PUMP REPLACED THE DEALER ALSO EXPLAINED
   5 THAT ALL FOUR MAGNETIC RIDE SHOCKS/STRUTS WERE LOCKED IN
   6 PLACE AND NOT FUNCTIONING AT ALL. THIS IS ANOTHER SERIOUS
   7 SAFETY ISSUE. I HAVE NEVER HEARD OF SHOCKS "LOCKING UP" .
   8 AFTER SOME MORE RESEARCH, I FOUND THIS IS A HUGE PROBLEM
   9 FOR GM VEHICLES. A PROBLEM THAT GM HAS FAILED TO ADDRESS. I
  10 HAVE ALSO HAD 3 MAJOR REPAIRS ON AC. INCLUDING NE AC LINES
  11 AND NEW COMPRESSOR.
  12       82.   A consumer complaint dated 4/11/2018 and submitted to NHTSA
  13 states the following regarding a Class Vehicle: MY VEHICLE HAS EXHIBITED A
  14 KNOCKING NOISE ON THE LEFT DRIVER SIDE TIRE, PROBLEMS WITH
  15 VIBRATION AT HIGH SPEEDS, ENGINE LIGHT COMING ON IF DRIVING
  16 HIGHWAY SPEEDS, BRAKE ISSUES, BRAKES BECOME STIFF AND WILL
  17 NOT STOP VEHICLE WHATSOEVER! AT BOTH THIS HAPPENED TWICE
  18 WHILE MY CAR WAS IN MOTION NEARLY KILLING ME AND MY KIDS!!!
  19 AIR CONDITIONING ISSUES AS WELL. BLOWS HOT AIR UNTIL YOU
  20 PLAY WITH BOTTOMS.
  21       83.   A consumer complaint dated 5/13/2018 and submitted to NHTSA
  22 states the following regarding a Class Vehicle: WHEN DRIVING IN LOW
  23 SPEEDS - SUCH AS PARKING OR STOP/GO TRAFFIC MY BRAKES FAIL TO
  24 WORK. I TRY TO PUSH PEDAL DOWN AS HARD AS I CAN BUT BARELY
  25 SEEMS TO STOP. I HAVE HAD TO PUSH MY EMERGENCY BRAKE PEDAL
  26 MORE THAN ONCE TO STOP AN ACCIDENT FROM HAPPENING I ALSO
  27 HAVE A SMALL CHILD THAT I FEAR WILL BE HURT IF THE PROBLEM IS
  28 NOT FIXED. I HAVE TAKEN IT TO DEALERSHIP AND THEY SAY THEY

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   1 CAN'T REPLICATE THE ISSUE THERE FORE CAN NOT FIX.
   2 V.     CLASS ALLEGATIONS
   3        84.    Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), Plaintiffs will seek
   4 certification of a Class consisting of:
   5        All consumers who purchased or leased in California a 2015 or newer
            Cadillac Escalade, 2014 or newer Chevrolet Silverado, 2015 or newer
   6
            Chevrolet Suburban, 2015 or newer Chevrolet Tahoe, 2014 or newer
   7        GMC Sierra, or 2015 or newer GMC Yukon/Yukon XL.
   8        85.    This action has been brought and may be properly maintained and
   9 certified as a Class Action because:
  10               (a) The questions and issues of law or fact are of a common or
            general interest, affecting the Class of individuals and the public at
  11        large;
  12
                    (b) The Class consists of a sufficiently large group of
  13        individuals, believed to exceed thousands of members, and is so large
  14        that it is impractical to join all members of the Class before the Court
            as individual plaintiffs. The identity of Class members is readily
  15        ascertainable from various sources including GM’s ownership records,
  16        GM’s repair records, government ownership records, and/or via simple
            notice by publication;
  17
                  (c) The questions of law or fact common to the Class are
  18
            substantially similar and predominate over those questions affecting
  19        only specific members of the Class;
  20              (d) The Class is united by a community of interests in
  21        obtaining appropriate equitable relief including injunctive relief, recall
            of Class Vehicles, restitution, damages, and other available relief
  22        designed to redress the wrongful conduct of Defendant GM;
  23
                  (e) Plaintiffs are members of the Class and their claims are
  24        typical of the Class;
  25              (f)    Plaintiffs will fairly and adequately represent the claims of
  26        the Class, and protect the interests of each member of the Class without
            exercising personal interest or otherwise acting in a manner
  27        inconsistent with the best interests of the Class generally;
  28

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   1                (g) Plaintiffs retained attorneys experienced in the litigation of
            class and representative claims and in the area of consumer protection
   2
            litigation who have agreed to and will responsibly and vigorously
   3        advocate on behalf of the Class as a whole;
   4               (h) Without class certification, the prosecution of separate
   5        consumer actions by individual members of the Class would be
            impracticable and financially difficult, and create a risk of repetitive,
   6        inconsistent and varying adjudications. This would have the effect of
   7        establishing incompatible standards of conduct for GM, discouraging
            the prosecution of meritorious but small claims, and/or result in
   8        adjudications which would be dispositive of the interests of other Class
   9        Members not parties to the adjudication, or otherwise substantially
            impair the ability of Class Members to protect their rights and interests;
  10
  11              (i)     Defendant GM acted or refused to act on grounds
            generally applicable to the Class, thereby making the award of
  12        equitable relief and/or restitution appropriate to the Class as a whole;
  13               (j)   The class action procedure is superior to other methods of
  14        adjudication, and specifically designed to result in the fair, uniform and
            efficient adjudication of the claims presented by this complaint. This
  15        class action will facilitate judicial economy and preclude the undue
  16        financial, administrative and procedural burdens which would
            necessarily result from a multiplicity of individual actions.
  17
  18        86.    Because the damages suffered by each Class Member is relatively
  19 small compared to the expense and burden of prosecuting this compelling case
  20 against a well-financed, multibillion dollar corporation, this class action is the only
  21 way each Class Member can redress the harm that Defendant GM caused.
  22        87.    Should individual Class Members be required to bring separate actions,
  23 California’s courts would face a multitude of lawsuits that would burden the court
  24 system and create a risk of inconsistent rulings and contradictory judgments. In
  25 contrast to proceeding on a case-by-case basis, in which inconsistent results will
  26 magnify the delay and expense to all parties and the court system, this class action
  27 presents far fewer management difficulties while providing unitary adjudication,
  28 economies of scale, and comprehensive supervision by a single court.

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   1        88.      The nature of notice to the proposed Class is contemplated to be by
   2 direct mail or, if such notice is not practicable, by the best notice practicable under
   3 the circumstance including email, publication in major newspapers and/or on the
   4 Internet.
   5 VI.    TOLLING AND ESTOPPEL
   6        89.      Any applicable statutes of limitations that might otherwise bar any of
   7 Plaintiffs’ claims and those of the Class are tolled by Defendant’s knowing and
   8 active concealment of the defect in the Class Vehicles, and the safety risks resulting
   9 therefrom.
  10        90.      Defendant, as the manufacturer of the Class Vehicles and therefore in a
  11 superior position to know of the material issues, was under a continuous duty to
  12 disclose to Plaintiffs and members of the Class the true standard and quality of the
  13 Class Vehicles and to disclose the defect and the associated safety hazards.
  14 Defendant kept Plaintiffs in the dark as to necessary information essential to the
  15 pursuit of their claims. Because of Defendant’s cover-up, Plaintiffs and Class
  16 Members could not have reasonably discovered the defect in their Class Vehicle.
  17 Defendant is therefore estopped from relying on any statutes of limitations in
  18 defense of this action.
  19                              FIRST CAUSE OF ACTION
  20                    (Violation of the Consumers Legal Remedies Act)
  21        91.      Plaintiffs adopt and incorporate all preceding paragraphs as if stated
  22 fully herein.
  23        92.      California Civil Code Sections 1750, et seq., (“Consumers Legal
  24 Remedies Act” or “CLRA”) precludes Defendant from representing that goods have
  25 uses, characteristics and benefits, standards, qualities or grades that they do not
  26 have. Through omission and concealment, Defendant has misrepresented that Class
  27 Vehicles: (a) have characteristics, uses or benefits that they do not have (Section
  28 1770(a)(5)); and, (b) are of a particular standard, quality, or grade when they are of

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   1 another (Section 1770(a)(7)). Plaintiffs incorporate herein paragraphs 1-6 and 13-82
   2 as particularized evidence of the pattern of misrepresentation by omission
   3 perpetrated by Defendant against Plaintiffs and the Class.
   4        93.    Defendant has designed, manufactured, marketed, sold, and placed into
   5 the stream of commerce the Class Vehicles sold across California. Defendant has
   6 failed to disclose and concealed the serious safety hazard posed by the design of
   7 Class Vehicles’ braking system, which as a result of known design defects causes
   8 the Class Vehicles to lose brake boost without warning, severely and suddenly
   9 compromising both pedal feedback (controllability) and actual stopping distances.
  10        94.    Defendant had a duty to disclose this material safety hazard because
  11 reasonable consumers expect braking systems to perform their only intended and
  12 reasonably expected function and purpose of slowing their vehicles with consistent
  13 brake pedal feedback and consistently safe stopping distances. In failing to
  14 adequately disclose this critical safety hazard, known to Defendant but not to
  15 reasonable consumers like Plaintiffs and Class Members, Defendant has violated the
  16 CLRA, including Civil Code §1770(a)(5) and (7).
  17        95.    None of the information provided by Defendant to consumers discloses
  18 the hazard.
  19        96.    Were it not for Defendant’s wrongful conduct in violation of the
  20 CLRA, reasonable consumers including Plaintiffs and the Class would not have
  21 purchased Class Vehicles. Instead, they would have purchased safe and reliable
  22 vehicles with braking systems that are fit and safe for their only intended purpose.
  23        97.    The members of the Class have suffered injury in fact and lost money
  24 as a direct result of Defendant’s wrongful conduct. Each has expended money to
  25 purchase a Class Vehicle, and would not have done so had they been aware of the
  26 material safety omission alleged in this Complaint. Each will need to expend money
  27 to repair or replace their Class Vehicle with safe braking systems adequately
  28 designed to perform their only intended and expected function of consistently and

                                                36                  CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 40 of 96 Page ID #:40




   1 safely slowing their vehicle.
   2         98.   In light of the defectively designed braking system common to each
   3 Class Vehicle, Defendant knew and has known of the hazard and dangerous
   4 condition caused by consumers’ use of and reliance upon the Class Vehicles.
   5 Defendant knew and has known that if it disclosed the true facts about the danger
   6 posed by their braking systems, consumers would not purchase Class Vehicles, and
   7 Defendant would not be able to market and sell them. Defendant continues to
   8 produce and sell Class Vehicles despite their known defective condition that risks
   9 the lives of consumers and the public at large. Defendant has and continues to
  10 recklessly and intentionally ignore public hazard caused by its omission and
  11 concealment of the hazard posed by the defective braking systems present in Class
  12 Vehicles.
  13         99.   The information referred to in Paragraphs 1-6 and 13-82, supra, as well
  14 as Defendant’s awareness from its prior experience in lawsuits alleging the same
  15 defect, have all placed Defendant on notice of the danger posed by its Class
  16 Vehicles. Yet, Defendant has ignored the hazards known to it and continues to make
  17 profit-directed decisions in conscious disregard of the safety and well-being of
  18 California residents as well as the non-residents who bought or leased Class
  19 Vehicles in California.
  20         100. As a result of Defendant’s violations of the Consumers Legal Remedies
  21 Act, Plaintiffs and the Class are entitled to equitable relief and a declaration that
  22 Defendant’s conduct violates the Consumers Legal Remedies Act.
  23         101. Plaintiffs disclaim any request for monetary relief including, but not
  24 limited to, attorney’s fees, costs or punitive damages, under the Consumers Legal
  25 Remedies Act at this time but reserve the right to seek such relief after providing
  26 Defendant with the notice required by the Act.
  27 / / /
  28 / / /

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Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 41 of 96 Page ID #:41




   1                           SECOND CAUSE OF ACTION
   2                 (Violation of the California Unfair Competition Law)
   3        102. Plaintiffs adopt and incorporate all preceding paragraphs as if stated
   4 fully herein.
   5        103. California Business & Professions Code Section 17200 (hereinafter
   6 “Unfair Competition Law” or “UCL”) precludes unfair competition, i.e., the
   7 employment of any unlawful, unfair or fraudulent business acts or practices; and any
   8 unfair, deceptive, untrue or misleading advertising violative of Cal. Bus. & Prof.
   9 Code Section 17500. This prohibition extends to any act, omission or conduct, or
  10 pattern of activity, engaged in within California which affects the rights of
  11 consumers within the State of California and elsewhere.
  12        104. In marketing and selling the Class Vehicles, and in otherwise causing
  13 the Class Vehicles to be placed into the stream of commerce for use by consumers
  14 in the United States with defective braking systems, and in continuing to conceal
  15 this critical safety information regarding the dangers associated with the use of the
  16 Class Vehicles, Defendant made available for consumer use a dangerous and
  17 patently unsafe product which is not safely useable for its intended purpose.
  18 Defendant was and remains obligated to disclose the hazard associated with the
  19 Class Vehicles because of the public’s reasonable expectation that the Class
  20 Vehicles would not under normal and expected use suddenly and unexpectedly lose
  21 effective braking power. In failing to disclose this critical safety issue which was
  22 known and readily apparent to Defendant but not to reasonable consumers,
  23 including Plaintiffs and the Class, Defendant engaged in fraudulent conduct under
  24 Cal. Bus. & Prof. Code §17200. Plaintiffs incorporate herein as though fully set
  25 forth herein Paragraphs 1-6 and 13-82, supra, as particularized evidence of the
  26 pattern of concealment perpetrated by Defendant against Plaintiffs and the Class.
  27        105. The aforementioned conduct is unlawful within the meaning of the
  28 UCL in that, among other things, it violates the CLRA to the extent that Defendant

                                               38                  CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 42 of 96 Page ID #:42




   1 represented, by the omission and concealment of critical safety information well-
   2 known to Defendant, that the Class Vehicles: (a) had characteristics, uses or benefits
   3 that they did not have in violation of Section 1770(a)(5) of the CLRA; and, (b) was
   4 of a particular standard, quality or grade when it was of another in violation of
   5 1770(a)(7) of the CLRA.
   6         106. Defendant’s conduct is unfair within the meaning of the UCL in that
   7 the alleged consumer injury is substantial, creating an unreasonable risk of
   8 catastrophic physical injury or death to any persons coming into contact with Class
   9 Vehicles. There is no countervailing benefit to having or continuing to conduct itself
  10 in the wrongful manner averred to herein.
  11         107. Were it not for the unfair competition of Defendant, the Class would
  12 not have purchased Class Vehicles.
  13         108. Plaintiffs have suffered an injury in fact, including the loss of money
  14 and/or property, as a result of Defendant’s unfair, unlawful and/or deceptive
  15 practices. In purchasing or leasing their vehicles, Plaintiffs relied on Defendant’s
  16 misrepresentations and/or omissions with respect to the safety, reliability and
  17 dependability of the vehicles.
  18         109. The members of the Class have and will continue to suffer injury in fact
  19 and lose money as a direct result of Defendant’s unfair competition in that each has
  20 expended money to purchase Class Vehicles, and have or will be caused to expend
  21 money to repair or replace their Class Vehicle with safe braking systems adequately
  22 designed to perform their only intended and expected function of consistently and
  23 safely slowing their vehicle.
  24         110. The wrongful conduct alleged herein occurred, and continues to occur,
  25 in the conduct of Defendant’s business. Defendant’s wrongful conduct is part of a
  26 pattern or generalized course of conduct that is still perpetuated and repeated, both
  27 in the State of California and nationwide.
  28 / / /

                                                  39               CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 43 of 96 Page ID #:43




   1         111. Plaintiffs request that this Court enjoin Defendant from continuing its
   2 unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs any money
   3 Defendant acquired through unfair competition including, but not limited to,
   4 restitution and disgorgement.
   5         112. As a result of Defendant’s unfair competition, Plaintiffs and the Class
   6 are entitled to appropriate equitable relief, including injunctive relief, and monetary
   7 relief in the form of restitution (including fluid recovery if certified as a class
   8 action).
   9                              THIRD CAUSE OF ACTION
  10                 (Violation of the Song-Beverly Consumer Warranty Act
  11                               Breach of Implied Warranty)
  12         113. Plaintiffs adopt and incorporate all preceding paragraphs as if stated
  13 fully herein.
  14         114. The Class Vehicles are “consumer goods” within the meaning of Cal.
  15 Civ. Code § 1791(a).
  16         115. Defendant GM is a “manufacturer” within the meaning of Cal. Civ.
  17 Code § 1791(j).
  18         116. Defendant impliedly warranted to Plaintiffs that Class Vehicles were
  19 “merchantable” within the meaning of Cal. Civ. Code §§ 1791.1(a) & 1792.
  20         117. Cal.     Civ.   Code     §   1791.1(a)   states:   “Implied   warranty   of
  21 merchantability” or “implied warranty that goods are merchantable” means that the
  22 consumer goods meet each of the following:
  23         (1)     Pass without objection in the trade under the contract description.
  24         (2)     Are fit for the ordinary purposes for which such goods are used.
  25         (3)     Are adequately contained, packaged, and labeled.
  26         (4)     Conform to the promises or affirmations of fact made on the container
  27         or label.
  28 / / /

                                                  40                  CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 44 of 96 Page ID #:44




   1         118. The Class Vehicles would not pass without objection in the automotive
   2 trade because the Class Vehicles do not conform with federal and California
   3 standards, and were sold with known and dangerous braking defect, as described
   4 above.
   5         119. The Class Vehicles are not fit for ordinary purposes for which they are
   6 used.
   7         120. The Class Vehicles are not adequately labeled because the labeling
   8 misrepresents that the vehicles are compliant with federal and California standards
   9 or fails to disclose such noncompliance.
  10         121. The Class Vehicles do not conform to the promises or affirmations of
  11 fact made on their label because their label misrepresents their fuel efficiency.
  12         122. Defendant’s conduct deprived Plaintiffs of the benefit of their bargain
  13 and have caused the Class Vehicles to be worth less than what Plaintiffs paid.
  14         123. As a direct and proximate result of Defendant’s conduct, Plaintiffs
  15 received goods whose condition substantially impairs their value. Plaintiffs have
  16 been damaged by the diminished value of the vehicles, the vehicles’ malfunctioning,
  17 and actual and potential increased maintenance and repair costs.
  18         124. Plaintiffs have complied with all obligations under the warranty, or
  19 otherwise have been excused from performance of said obligations as a result of
  20 Defendant’s conduct.
  21         125. Under Cal. Civ. Code §§ 1791.1(d) & 1794, Plaintiffs are entitled to
  22 damages and other legal and equitable relief including, but not limited to the
  23 purchase price of the Class Vehicles or the overpayment or diminution in value of
  24 the Class Vehicles, and attorney’s fees and costs.
  25 / / /
  26 / / /
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                                                 41                  CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 45 of 96 Page ID #:45




   1 VII. RELIEF REQUESTED
   2         WHEREFORE, Plaintiffs and the Class pray judgment against Defendant GM
   3 as follows:
   4         a.    For an order certifying this action as a class action pursuant to Rule 23
   5 of the Federal Rules of Civil Procedure and appointing Plaintiffs as the
   6 representatives of the Class and their counsel as Class Counsel;
   7         b.    On the First Cause of Action, Plaintiffs seek only equitable relief and
   8 disclaim any other relief until after providing Defendant with the notice required by
   9 the Act;
  10         c.    For an order requiring Defendant General Motors LLC to buy back
  11 Class Vehicles, refund the purchase price of Class Vehicles, or otherwise, free of
  12 charge, replace the defective braking systems of Class Vehicles with defect-free
  13 components and ensure that Class Vehicles comply with applicable safety standards;
  14         d.    For an order awarding Plaintiffs actual, statutory or any other form of
  15 damages provided by statute or required by law;
  16         e.    For an order awarding Plaintiffs punitive damages in an amount
  17 sufficient to serve as an appropriate punishment in light of all the facts and
  18 circumstances, including Defendant’s financial condition;
  19         f.    For an order awarding Plaintiffs restitution, disgorgement or any other
  20 equitable relief provided by statute or as the Court deems proper;
  21         g.    For an order awarding Plaintiffs pre-judgment and post-judgment
  22 interest;
  23         h.    For an order awarding Plaintiffs reasonable attorney fees and costs of
  24 suit, including expert witness fees; and
  25 / / /
  26 / / /
  27 / / /
  28 / / /

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Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 46 of 96 Page ID #:46




   1       i.    For an order awarding such other and further relief as this Court may
   2 deem just and proper.
   3 DATED: October 9, 2018            Respectfully submitted,
   4
                                       KIESEL LAW LLP
   5
   6
   7                                   By:          /s/ Nicole Ramirez
                                             Paul R. Kiesel
   8
                                             Jeffrey A. Koncius
   9                                         Nicole Ramirez
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  28

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Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 47 of 96 Page ID #:47




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Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 48 of 96 Page ID #:48




   1 VIII. DEMAND FOR JURY
   2        Plaintiffs Scott Peckerar and Samantha Peckerar, individually and on behalf
   3 of the Class, demand a trial by jury.
   4 DATED: October 9, 2018                  Respectfully submitted,
   5
                                             KIESEL LAW LLP
   6
   7
   8                                         By:          /s/ Nicole Ramirez
   9                                               Paul R. Kiesel
                                                   Jeffrey A. Koncius
  10                                               Nicole Ramirez
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                                             CORY WATSON, P.C.
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                                                    45                 CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 49 of 96 Page ID #:49




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              EXHIBIT “A”
   Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 51 of 96 Page ID #:51
                                      SB-10057667-3895

                                                                                                  File in Section:
                                                                                                     Bulletin No.:      PIT5361
                  Service Bulletin                                                                           Date:      February, 2015



                       PRELIMINARY INFORMATION
Subject:        Diagnostic Tip - Additional Brake Pedal Effort

Models:         2015 Cadillac Escalade Models
                2014 Chevrolet Silverado 1500
                2015 Chevrolet Silverado 1500, Suburban, Tahoe
                2014 GMC Sierra 1500
                2015 GMC Sierra 1500, Yukon Models
The following diagnosis might be helpful if the vehicle exhibits the symptom(s} described in this Pl.
Condition/Concern
In some rare situations, a customer may comment on a hard brake pedal or that increased effort is needed to
depress the brake pedal. While performing normal diagnostics, fluid may be found in the brake booster and/or the
booster vacuum line.
In some rare situations, a customer may comment on a hard brake pedal or that increased effort is needed to
depress the brake pedal. While performing normal diagnostics, fluid may be found in the brake booster and/or the
booster vacuum line.
Recommendation/Instructions
If engine oil is found, it is important the following parts are replaced. If not, the condition will return.
  1. Vacuum Pump
  2. Vacuum Line between the booster and the pump
  3. Brake Booster
  4. Master Cylinder
Parts Information
            Part Number                                      Description                                          Qty
              12662552                                    PUMPASM-VAC                                              1
  23144638(VYU)or23135228(w/
                                                     PIPEASM-P/BBOOS VAC                                           1
            oVYU)
              23135220                                  BOOSTERASM-PB
                                                                    /                                              1
              20925765                                  CYLINDER-BRK MAS                                           1

excel sheet
Warranty Information
For vehicles repaired under warranty use:
                                          .,,

           Labor Operation                                    Description                                     Labor Time
                                            Replace vacuum pump, vacuum pump to booster
              2480118 *                      hose, vacuum brake booster, and brake master                        2.8 hr
                                                              cylinder
              * This is a unique labor operation for bulletin use only. This will not be published in the Labor Time Guide.

Please follow this diagnostic or repair process thoroughly and complete each step. If the condition exhibited is
resolved without completing every step, the remaining steps do not need to be performed.
                 Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 52 of 96 Page ID #:52
                                                                                                                                  Bulletln No.: Pff53$1B
                                                                                                                                             0..: J1M114018



                                  Service Bulletin
                           PRELIMINARY INFORMATION
 Subject:            Dltgnoelle 11p • Addltlontl Brue PedJI Effort


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                 Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 53 of 96 Page ID #:53
                   12658179                                            BELT -VAC PUMP                                                  1

                   12658178                                       BELT - NC COMPRESSOR                                                 1

Warranty Information
For vehicln repaired under warranty use:


               Labor Operation                                             Description                                            Labor Time


                   2480118 *                        Replace vacuum pump, belta, vacuum pump to booster                               2.8 hr
                                                    hose, vacuum brake booster, and brake master cylinder


                                                     • Tllis is a unique labor operation for bulletin use only.

Please follow this diagnostic or repair process thoroughly and complete each step. If the condition exhlbHed la resolved without completing every step, Iha
remaining slllp& do not need to be perfcrmed.
Additional SI Keywords
C0299

GM bulletins are intended for use by profesgional technicians, NOT a "do-it-yourselfer". They are written to inform these technicians of conditions that may
occur on 90!Tle vehicles, or to provide information that could assist in Iha proper service of a vehicle. Property 1tainad technicians haw the equipment, tools,
safety instruction&, and know-how to do a job properly and safely. lfll condition i& described, DO NOT asgume that the bulletin appliea to your vehicle, or that
your vehicle will have that condition. Sea your GM dealer for information on whether your vehicle may benefit from the information.




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         JU: 4748)3��                                                         rage
              5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 54 of 96 Page    I or .:
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                                           2015 Chevrolet Suburban - 2WD (1GNSCKKC8FRS00471] I
                    Escalade, Escalade ESV, Suburban, Tahoe, Yukon, Yukon XL Service Manual 7527571        I   View All Bulletins   I
                                                           DocumentID:4748532
    --··-----·-·-·· .   .   -- ----------------·---··· ·---------
  #PIT5361C� Diagnostic Tip - Additional Brake Pedal Effort
  - (Mar 15, 2017)
  Subject: Diagnostic Tip· Additional Brake Pedal Effort




                                                 ----·---------                  ··-------···· ---

                                              Model Year:                     VIN:
      Brand:                  Model:                                                               Engine:        Transmission:
                                            from          to          from              to

    Cadillac                 Escalade     2015-2016                    All        All                All                   All

                             Silverado
    Chevrolet                             2014-2016                    All        All                All                  All
                             1500

    Chevrolet                Suburban     2015-2016                    All        All                All                   All

    Chevrolet                Tahoe        2015-2016                    All        All                All                   All

                             Sierra
    GMC                                   2014-2016                     All       All                All                   All
                             1500

    GMC                      Yukon        2015-2016                    All        All                All                   All

 Supersession Statement

 This Pr was superseded to update the parts list. Please discard PIT5361B.
 You are about to leave the website of General Motors and view the content of an external website. That
 website is not owned or controlled by, or affiliated with General Motors or its subsidiaries, and it is
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 §���Mfion/_Concern.
  WarniM some rare situations, a customer may comment on a hard brake pedal or that increased effort
       is needed to depress the brake pedal. Also, in some cases a tick or ticking noise may be heard,
       which may sound like an exhaust manifold leak. While performing normal diagnostics, fluid may
       be found in the brake booster and/or the booster vacuum line.

             Important: P,1y close attention to the fluid and if it is determined to be engine oil, it could be
                       coming from the vacuum pump. The vacuum pump is belt-driven and mounted to the
                       side of the engine block. It is lubricated by pressurized engine oil.

  Re com mend at ion Linstructions
             If engine oil is found, it is important the following parts are replaced. If not, the condition will
             return.
                                                     © 2017 General Motors. All rights reserved.

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Document llJ: 4748Y;2
      Case    5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 55 of 96 Pagerage L. u, .:.
                                                                                ID #:55
            1. Vacuum Pump
            2. Vacuum Line between the booster and the pump
            3. Brake Booster
            4. Master Cylinder

 .e.arts Information

             Part Number                                      Description                                                       Qty

             12669488                                         PUMP ASM-VAC                                                      1

             23144638 (VYU) or
             23135228 (w/o VYU)
                                                              PIPE ASM-P/B BOOS VAC                                             1

             23135220                                         BOOSTER ASM-P/B                                                   1

             20925765                                         CYLINDER-BRK MAS                                                  1

 Warrnnty Information

          For vehicles repaired under warranty use:


             Labor Operation                                  Description                                                       Labor Time

                                                              Replace vacuum pump, vacuum
            2480118          *                                pump to booster hose, vacuum
                                                              brake booster, and brake master
                                                                                                                                2.8 hr
                                                              cylinder

             ><   This is   a unique labor operation for bulletin use only.

          Please follow this diagnostic or repair process thoroughly and complete each step. If the condition
          exhibited is resolved without completing every step, the remaining steps do not need to be
          performed.

 GM bulletins are intended for use by professional technicians, NOT a ''do·1t·yourselfer". They are written to inform these                  WE SUPPORT
 tech�1;:·ans of concit1c,ns that may occur on some veh,(les. or to proYide information that could assist In the proper service of a
 ,er,,c �. Propedy trained technicians have the equipment, tools, safety 1111truct1ons, ilnd know-how to do a Job properly an�
                                                                                                                                             VOLUNTARY
 safely If a ond1t1on •s describe<l, DO NOT assume that the bulletin applies to your vehicle, or that your vehlde v,111 have that         TECHNICIAN
 co·id tion. See your GM �ealer for 1nformatoon on whetner your vehicle may benefit from the lnronnallon.                                CERTIFICATION




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Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 56 of 96 Page ID #:56




               EXHIBIT “B”
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                 https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
            Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 57 of 96 Page ID #:57
            United States Department o f Transpo rtatio n




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         Look up another vehlcle           Year Make Model or VIN
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                                                        2015
                                              CHEVROLET SUBURBAN 1500
                                                                        SUYRWD




                                                                    7            INVESTIGATIONS O




                                                                    *****
                                                                OVIRALL SAff:TY RATING




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1 of 7                                                                                                                   10/18/2017, 3:57 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                           https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
             Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 58 of 96 Page ID #:58



           COMPLAINTS           RECAU.S           INVESTIGATIONS          MANUFACTURER COMMUNICATIONS




         9 1 4 Manufacturer Communications
         for 201 5 C HEVROLET SUBU RBAN 1 500
         FILT& MANUFACTURER COMMUNICATIONS BY AFFECTED COMPONENTS

          All (914)   AIR BAGS (2)   BACK OVER PREVENTION (4)        ELECTRICAL SYSTEM (271)       ELECTRONIC STABIUTY CONTROL (2)       ENGINE (96)

          ENGINE AND ENGINE COOLING (48)         EQUIPMENT (346)     EQUIPMENT ADAPTIVE (64)       EXTERIOR LIGHTING (4)

          FORWARD COLLISION AVOIDANCE (1)          FUEL SYSTEM, DIESEL (1)    FUEL SYSTEM, GASOLINE (26)     FUEL SYSTEM, OTHER (16)

          FUEUPROPULSION SYSTEM (1)        INTERIOR LIGHTING (1)      LANE DEPARTURE (3)     LATCHES/LOCKS/LINKAGES (5)        PARKING BRAKE (4)

          POWER TRAIN (56)      SEAT BELTS (3)     SEATS (23)    ffoi'MjV-l41W•          SERVICE BRAKES, AIR (4)      SERVICE BRAKES, ELECTRIC (2)

          SERVICE BRAKES, HYDRAULIC (10)         STEERING (24)    STRUCTURE (44)     SUSPENSION (31)     TIRES (15)    TRACTION CONTROL SYSTEM (1)

          TRAILER HITCHES (2)     VEHICLE SPEED CONTROL (3)        VISIBILITY (26)   WHEELS (14)




         March 1 4, 2017 MANUFACTURER COMMUNICATION NUMBER: PIT5509B
         Components: ELECTRICAL SYSTEM, SERVICE BRAKES


         June 27, 201 6 MANUFACTURER COMMUNICATION NUMBER: PIT5361B
         Components: SERVICE BRAKES
                                                                                                                                                         8
         NHTSA ID Number: 1 0081053

         Manufacturer Communication Number: PIT5361 B

         Summary

         THIS PRELIMINARY INFORMATION COMMUNICATION PROVIDES INFORMATION TO THE TECHNICIAN ON THE STEPS
         TO DIAGNOSE AND REPAIR VEHICLES THAT MAY HAVE ISSUES WERE THE CUSTOMER WILL NEED INCREASED EFFORT
         TO DEPRESS THE BRAKE PEDAL. TECHNICIAN MAY FIND FLUID IN THE BRAKE BOOSTER AND/OR THE BOOSTER
         VACUUM LINE. TECHNICIAN WILL NEED TO REPLACE VACUUM PUMP. BRAKE BOOSTER, MASTER CYLINDER, VACUUM
         PUMP BELT AND THE VACUUM LINE BETWEEN THE BOOSTER AND THE PUMP.

         14 Affected Products ....


         Vehicles

         MAKE                                            MODEL                                                  YEAR


         CADILLAC                                        ESCALADE                                               2015-2016




4 of 7                                                                                                                                               10/18/2017, 3:57 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                           https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
            Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 59 of 96 Page ID #:59

         MAKE                                   MODEL                                   YEAR


         CHEVROLET                              SILVERADO 1 500                          2014-201 6



         CHEVROLET                              SUBURBAN                                 2015-201 6




         CHEVROLET                              TAHOE                                    2015-201 6




         GMC                                    SIERRA 1 500                             2014-201 6



         GMC                                    YUKON                                    2015-201 6



         1 Associated Document •

         Service Bulletin Document
         i SB-1 0081053-2280.pdf     95.829KB


         I!! Request Research (Services fees apply)




         February 1 5, 201 6 MANUrACT\JRER COMMUNICATION NUMBER: PIT5377D
         Components: SERVICE BRAKES



         February 1 0, 201 6 MANUrACTURER COMMUNICATION NUMBER: PIT5361A
         Components: SERVICE BRAKES
                                                                                                                     8
         NHTSA ID Number: 1 0096208

         Manufacturer Communication Number: PIT5361 A

         Summary

         THIS PRELIMINARY INFORMATION COMMUNICATION PROVIDES INFORMATION TO THE TECHNICIAN ON THE STEPS
         TO DIAGNOSE AND REPAIR VEHICLES THAT MAY HAVE ISSUES WERE THE CUSTOMER WILL NEED INCREASED EFFORT
         TO DEPRESS THE BRAKE PEDAL. TECHNICIAN MAY FIND FLUID IN THE BRAKE BOOSTER AND/OR THE BOOSTER
         VACUUM LINE. TECHNICIAN WILL NEED TO REPLACE VACUUM PUMP, BRAKE BOOSTER, MASTER CYLINDER, VACUUM
         PUMP BELT AND THE VACUUM LINE BETWEEN THE BOOSTER AND THE PUMP.
         19 Affected Products •


         Vehicles

         MAKE                                   MODEL                                   YEAR




5 of 7                                                                                                           10/18/2017, 3:57 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                           https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
            Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 60 of 96 Page ID #:60

                                             MODa                                       YEAR



         CADILLAC                            ESCALADE                                   2015-2016



         CADILLAC                           ESCALADE ESV                                2015-2016



         CHEVROLET                           SILVERADO 1 500                            2014-2016



         CHEVROLET                           SUBURBAN                                   2014-2016



         CHEVROLET                          TAHOE                                       2015-2016



         GMC                                 SIERRA 1 500                               2014-2016



         GMC                                YUKON                                       2015-2016



         GMC                                YUKON XL                                    2015-2016


         n Request Research (Services fees apply)




         November 10, 201 5 MN«BCIUUR COIUJNICATION NUMBER: PrT52<41C
         Components: SERVICE BRAKES, ELECTRICAL SYSTEM




          f-   prev                                            Pag e 1 of2                                       next -+


         Recent.lJ Searched


         2015
         CHEVROLET SUBURB.AN 1500
         SUVRWD




6 of 7                                                                                                           10/18/2017, 3:57 PM
Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 61 of 96 Page ID #:61




              EXHIBIT “C”
2015 CADILLAC ESCALADE ESV SUV AWD | NHTSA                                  https://www.nhtsa.gov/vehicle/2015/CADILLAC/ESCALADE%2520E...
            Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 62 of 96 Page ID #:62
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         Look up another vehlcle           Year Make Model or VIN
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                                                             2015
                                                    CADILLAC ESCALADE ESV
                                                                        SUVAWD




                                                                    5            INVESTIGATIONS O

                                                                                 COIIPLAINTS   16




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1 of 8                                                                                                                   10/18/2017, 3:34 PM
2015 CADILLAC ESCALADE ESV SUV AWD | NHTSA                                       https://www.nhtsa.gov/vehicle/2015/CADILLAC/ESCALADE%2520E...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 63 of 96 Page ID #:63



           COMPLAINTS             RECAU.S    INVESTIGATIONS          MANUFACTURER COMMUNICATIONS




         1 6 Complaints
         for 201 5 CADI LLAC ESCALADE ESV
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (16)   ELECTRICAL SYSTEM (1)   ENGINE (1)    ENGINE AND ENGINE COOLING (1)   EXTERIOR LIGKTING (1)   FUElJPROPULSION SYSTEM (1)

          POWER TRAIN (2)       (h£1Hi+'I:�fj§)   STRUC11.IRE (1)    SUSPENSION (1)   UNKNOWN OR OTHER (6)    VEHICLE SPEED CONTROL (2)

          VISIBILITY/WIPER (1)




         August 1 8, 201 6 NHTSA ID NUMBER: 10896962
         Components: SERVICE BRAKES
                                                                                                                                           8
         NHTSA ID Number: 1 0896962
         Incident Date August 2, 2016
         Consumer Location HARRIMAN, NY
         Vehicle Identification Number 1 GYS4SKJ4FR****

         Summary of Complaint
         CRASH            No                 BRAKES COMPLETELY FAILED. I PULLED INTO TRAIN PARKING SPOT AND THE CARS
                                             WOULD NOT STOP. I HAP TO KEEP PUMPING THE BRAKES AND EVENTUALLY IT JUST
         FIRE             No
                                             STOPPED. I TRIED IT GAIN AND THE BRAKES WERE HARD AND COULDN'T PUSH THEM
         INJURIES           0                DOWN. I AM SO LUCKY THAT I WAS NOT ON A HIGHWAY GOING FAST WITH MY KIDS IN
                                             THE CAR.
         DEATHS             O

                                             ADILLAC SAID I NEEDED THE HYDRO BOOST REPLACED.
         1 Affected Product .....


         Vehicle

         MAKE                                             MODEL                                     YEAR


         CADILLAC                                         ESCALADE                                  2015



         r Request Research (Services fees apply)



         July 29, 201 6 NHTSA ID NUMBER: 10891627
                                                                                                                                           8
4 of 8                                                                                                                                10/18/2017, 3:34 PM
2015 CADILLAC ESCALADE ESV SUV AWD | NHTSA                         https://www.nhtsa.gov/vehicle/2015/CADILLAC/ESCALADE%2520E...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 64 of 96 Page ID #:64
         Components: SERVICE BRAKES

         NHTSA ID Number: 1 0891 627
         Incident Date June 1 8, 2016
         Consumer Location PHOENIX, AZ
         Vehicle Identification Number 1 GYS4PKJ8FR****

         Summary of Complaint
         CRASH          Na              AT 1 5000 MILES AND ORIGINAL OWNER WHILE TOWING OUR BRAKES COMPLETELY
                                        GAVE OUT. NO WARNING SIGN, NO LEAKAGE, ONLY 1 SYMPTOM A FEW MONTHS PRIOR
         FIRE           Na
                                        WHERE THE BRAKE PEDDLE WAS MUSHY. DEALERSHIP SAID IT WAS FINE. EVERYTHING
         INJURIES        0              WORKED FINE DRIVING IT THROUGHOUT DAY. STOPPED FOR DINNER JUST BEFORE WE
                                        ENTERED MOUNTAIN PASS. GOT IN SUV TO LEAVE FOR HOME AND HAD NO BRAKES AT
         DEATHS          0
                                        ALL. EMERGENCY BRAKE WON'T EVEN KICK IN TO BE USED FOR EMERGENCIES. THE
                                        VEHICLE GAVE NO WARNING SIGNS, ENGINE OR BRAKE LIGHT WARNINGS. NO
                                        CHANGES IN BRAKE PRESSURE, NO LEAKS UNDER VEHICLE OR ON ENGINE. IT WAS AN
                                        INSTANT GIVE OUT OF BRAKES AND COULD HAVE HAPPENED WHILE DRIVING.
                                        FORTUNATELY THEY DID NOT GIVE OUT WHILE MOVING MORE THAN 3 MPH SO WE ARE
                                        STILL ALIVE. DEALERSHIP AND GM BOTH SAID IT WAS NORMAL FOR BRAKES TO GIVE
                                        OUT AND NOT HAVE ANY BRAKES WHEN THE BRAKE MASTER CYLINDER GIVES OUT.
                                        THIS IS NOT NORMAL! THEY REPLACED THE MASTER CYLINDER AND ALL WORKS FINE
                                        NOW. HOWEVER I FEEL THIS IS A MAJOR VEHICLE SAFETY ISSUE IN THAT FOR A
                                        VEHICLE TO COMPLETELY LOSE ALL OF IT'S BRAKING ABILITY BUT NOT BE PREWARNED
                                        THAT THERE IS A PROBLEM IS EXTREMELY DANGEROUS. IF WE DIDN'T STOP FOR
                                        DINNER THE BRAKES WOULD HAVE GIVEN OUT IN THE MOUNTAIN PASS AND ME AND
                                        MY FAMILY WOULD MORE THAN LIKELY BE DEAD AT THE BOTTOM OF A MOUNTAIN
                                        CLIFF! WE ARE EXTREMELY AFRAID TO DRIVE THIS VEHICLE NOW AND GM HAS NO
                                        INTEREST IN BUYING IT BACK OR HELPING US GET OUT OF IT. THEY JUST SAID "JUST
                                        WAIT TO SEE IF IT HAPPENS AGAIN" WHICH TO ME, MEANS, WAIT UNTIL YOU CAUSE A
                                        FATALITY. THEY ALSO SAID THIS ISN'T HAPPENING TO OTHER GM VEHICLES.
         1 Affected Product ....


         Vehicle

         MAKE                                    MODEL                            YEAR


         CADILLAC                                ESCALADE                         2015



         r Request Research (Services fees apply)



         March 31, 201 6 NHTSA ID NUMBER: 10852756
         Components: SERVICE BRAKES
                                                                                                                  8
         NHTSA ID Number: 1 0852756
         Incident Date November 13, 201 5



5 of 8                                                                                                        10/18/2017, 3:34 PM
2015 CADILLAC ESCALADE ESV SUV AWD | NHTSA                        https://www.nhtsa.gov/vehicle/2015/CADILLAC/ESCALADE%2520E...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 65 of 96 Page ID #:65
         Consumer Location ANAHEIM, CA

         Vehicle Identification Number 1GYS4NKJ7FR****

         Summary of Complaint
                            No         THE VEHICLE HAD VIRTIJALLY NO BRAKES TO STOP IT AND 1 1,21 5 MILES. GENERAL
                                       MOTORS ALREADY HAD SERVICE WARNINGS OUT TO DEALERS DATED 7/17/201 5, GM
         FIRE               No
                                       DOCUMENT ID #4242788. THEY SAY THEY REPLACED PADS AND ROTORS. AT 23,589
         INJURIES           0          MILES THE VEHICLE NEEDED BRAKES AGAIN. SERVICE MANAGER TELLS US THAT THIS
                                       IS A KNOWN PROBLEM AT GENERAL MOTORS. THEY HAVE EVEN ISSUED A NEW
         DEA'IHS            0
                                       WARNING FOR 201 6 MODELS. I CONSIDER THE VEHICLE TO BE UNSAFE TO DRIVE IN
                                       THAT THE BRAKES CAN GO OUT WITHOUT ANY WARNING.

         1 Affected Product •


         Vehlcle

                                                  MODEL                          YEAR



         CADILLAC                                 ESCALADE                       2015


         IEl Request Research (Services fees apply)




         November 23, 201 5 NimtA 1uu•at: 10195343
         Components: SERVICE BRAKES, SUSPENSION, POWER TRAIN




         Recently Searched


         2015
         CADILLAC ESCALADE ESV
         SUVAWD

         Nol llNII nl1Ald
         OVERALL SAFETY RATING




         2016


6 of 8                                                                                                       10/18/2017, 3:34 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                 https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
            Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 66 of 96 Page ID #:66
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                                                        2015
                                              CHEVROLET SUBURBAN 1500
                                                                        SUYRWD




                                                                    7            INVESTIGATIONS O




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1 of 8                                                                                                                   10/18/2017, 3:17 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                         https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 67 of 96 Page ID #:67



           COMPLAINTS            RECAU.S        INVESTIGATIONS           MANUFACTURER COMMUNICATIONS




         96 Complaints
         for 201 5 C HEVROLET SUBU RBAN 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (96)   AIR BAGS (5)    ELECTRICAL SYSTEM (12)      ELECTRONIC STABIUTY CONTROL (3)     ENGINE (1O)   EQUIPMENT (1)

          EQUIPMENT ADAPTIVE (2)        EXTERIOR LIGHTING (4)    FUEL/PROPULSION SYSTEM (6)     POWER TRAIN (11)   SEAT BB..TS (1)   SEATS (4)

         (hMdv Hie•   1:l
                                    STEERING (12)   STRUCTURE (13)      SUSPENSION (6)   TIRES (1)   UNKNOWN OR OTHER (20)

          VEHICLE SPEED CONTROL (1)       VISIBILITY (2)   VISIBILITY/WIPER (2)   WHEELS (3)




         October 1 , 2017 NHTSA ID NUMBER: 11030722
         Components: SERVICE BRAKES
                                                                                                                                                 8
         NHTSA ID Number: 1 1 030722
         Incident Date June 29, 2017
         Consumer Location LAC DU FLAMBEAU, WI
         Vehicle Identification Number 1 GNSKKKC7FR****

         Summary of Complaint
         CRASH                                 WHILE DRIVING ON 190 IN STOP AND GO TRAFFIC, THE CAR IN FRONT OF ME STOPPED. I
                                               APPLIED MY BRAKES AND THE PEDAL WAS HARD AND WOULD NOT DEPRESS. AS A
         FIRE               No
                                               RESULT MY CAR WOULD NOT STOP AND I HIT THE CAR IN FRONT OF ME IN THE REAR
         INJURIES           3                  END. MY AIR BAGS WENT OFF. I RECEIVED AN AIR BAG BURN. THE CAR IN FRONT OF ME
                                               STRUCK THE CAR IN FRONT OF HIM. BOTH OTHER DRIVERS CLAIM THEY WERE
         DEATHS             0
                                               INJURED. MY CAR COST $1 5,300 TO REPAIR. CHEVROLET IS AWARE OF THIS PROBLEM,
                                               ISSUING PRELIMINARY SERVICE BULLETIN PIT5361 IN 201 5, ADDENDUM B IN 2016 AND
                                               ADDENDUM B IN 2017. THE PROBLEM IS A FAULTY VACUUM PUMP, MASTER CYLINDER,
                                               BRAKE BOOSTER, VACUUM LINE, AND VACUUM PUMP BELT. I WAS NEVER INFORMED OF
                                               THIS PROBLEM. I HAVE BEEN DRIVING 50 YEARS AND THIS IS MY FIRST CHARGEABLE
                                               ACCIDENT.
         1 Affected Product ....

         Vehicle

         MAKE                                               MODEL                                       YEAR



         CHEVROLET                                          SUBURBAN                                    2015




4 of 8                                                                                                                                       10/18/2017, 3:17 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                        https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 68 of 96 Page ID #:68
         � Request Research (Services fees apply)



         September 26, 2017 NHTSA ID NUMBER: 11030016
         Components: SERVICE BRAKES
                                                                                                                  8
         NHTSA ID Number: 1 1 03001 6
         Incident Date September 26, 2017
         Consumer Location LLANO, TX
         Vehicle Identification Number 1 GNSCKKC7FR****

         Summary of Complaint
         CRASH         Na                 TL* THE CONTACT OWNS A 201 5 CHEVROLET SUBURBAN. WHILE EXITING THE
                                          PARKING LOT AT 5 MPH, THE BRAKES FAILED TO WORK WITHOUT WARNING. THE
         FIRE          Na
                                          CONTACT HAD TO CHANGE THE GEAR TO PARK IN ORDER TO STOP THE VEHICLE. THE
         INJURIES       0                 VEHICLE WAS TOWED TO THE DEALER (BOB PRICE CHEVROLET BUICK GMC, 1 225 S
                                          STATE HWY 1 6, FREDERICKSBURG, TX 78624) WHERE IT WAS DIAGNOSED THAT THE
         DEATHS         0
                                          BRAKE BOOSTER AND THE BRAKE PUMP NEEDED TO BE REPLACED. THE VEHICLE WAS
                                          NOT REPAIRED. THE MANUFACTURER WAS NOT CONTACTED. THE APPROXIMATE
                                          FAILURE MILEAGE WAS 51,800.
         1 Affected Product •

         Vehicle

         MAKE                                     MODEL                            YEAR


         CHEVROLET                                SUBURBAN                         2015



         r Request Research (Services fees apply)



         August 28, 2017 NHTSA ID NUMBER: 11020065
         Components: SERVICE BRAKES
                                                                                                                  8
         NHTSA ID Number: 1 1 020065
         Incident Date August 1 8, 2017
         Consumer Location CENTERVILLE, MA
         Vehicle Identification Number 1 GNSKKKCOFR****

         Summary of Complaint
         CRASH         Na                 THE BRAKES ON MY 2015 CHEVY SUBURBAN ARE LOCKING WHEN DRIVING A LOW
                                          SPEED. THE PROBLEM STARTED ALL OF THE SUDDEN WHILE DRIVING UNDER DRY ROAD
         FIRE          Na
                                          CONDITIONS ON A CITY STREET. IF YOU PRESS ON THE BRAKE PEDAL . II DOES NOT
         INJURIES       0                 MOVE AND THE CAR DOES NOT STOPPED. I ALMOST HIT A FAMILY OF 4 THAT WAS



5 of 8                                                                                                        10/18/2017, 3:17 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                      https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 69 of 96 Page ID #:69
         DEATHS         0               CROSSING IN FRONT OF ME. THE CAR HAS BEEN AT DICK BEARD CHEVROLET IN
                                        HYANNIS, MA AND THEY ARE SAYING THAT THERE IS NO ISSUE WITH THE BRAKES AND
                                        AVOIDING SOLVING THE PROBLEM. IVE CALLED CHEVROLET 4 TIMES AND THEY ARE
                                        NOT CALLING ME BACK. THE CAR IS NOT SAFE TO DRIVE AT ALL.
         1 Affected Product •

         Vehicle

         MAKE                                       MODEL                        YEAR


         CHEVROLET                                  SUBURBAN                     2015



         i:: Request Research (Services fees apply)



         June 1 7, 2017 NHTSA ID NUMBER: 10995718
         Components: SERVICE BRAKES
                                                                                                                8
         NHTSA ID Number: 1 099571 8
         Incident Date June 1 7, 2017
         Consumer Location MCQUEENEY, TX
         Vehicle Identification Number 1 GNSCJKC3FR****

         Summary of Complaint
         CRASH         No               BRAKE BOOSTER WENT OUT WHILE DRIVING WITH MY CHILDREN IN THE CAR!
         FIRE          No

         INJURIES       O

         DEATHS         O


         1 Affected Product •

         Vehicle

         MAKE                                       MODEL                        YEAR


         CHEVROLET                                  SUBURBAN                     2015



         c Request Research (Services fees apply)



         June 1 4, 2017 NHTSA ID NUMBER: 10995134
         Components: SERVICE BRAKES
                                                                                                                8

6 of 8                                                                                                      10/18/2017, 3:17 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                         https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 70 of 96 Page ID #:70

         NHTSA ID Number: 10995134

         Incident Date October 14, 2016

         Consumer Lotatlon GAINESVILLE, FL

         Vehlcle Identification Number 1GNSCJKC4FR"***

         Summary of Complaint

                                        BRAKES STOPPED WORKING • FIRST TIME IT HAPPENED I THOUGHT IT WAS MY
                                        IMAGINATION AS I WAS IN A PARKING LOT GOING EXTREMELY SLOW. NEXT DAY IT
         FIRE          No
                                        HAPPENED WHEN BACKING OUT OF MY DRIVEWAY. HAD TO PRESS BRAKES
         INJURIES       0               EXTREMELY HARD AND IT ROLLED TO A STOP AS IT HIT CURB ON OTHER SIDE OF ROAD.
                                        TOOK IT TO DEALER AND THEY REPLACE THE VACUUM BOOSTER WHICH HAD FAILED
         DEA1HS         0
                                        AT APROX. 50,000 MILES. NOT COVERED UNDER WARRANTY. EVERY OTHER PART OF
                                        BRAKES BESIDES NORMAL WEAR AND TEAR IS COVERED. I WAS LUCKY IT HAPPENED IN
                                        MY DRIVEWAY AND NOT WHILE DRIVING AT HIGHER SPEEDS IN TRAFFIC.

                                        I HAVE ADDITIONAL COMPLAINTS ABOUT THIS VEHICHLE. THE CLIPS HOLDING
                                        DRIVERS SEAT HAD TO BE REPLACED AT 40,000 MILES BECAUSE SEAT WAS SLIDING
                                        FROM SIDE TO SIDE. THEY ARE ALL READY LOOSE AGAIN AT 60,000 MILES ALTHOUGH
                                        NOT AS BAD AS FIRST TIME. MY AC CONDENSER WENT OUT AT 62,000 MILES. IT HAS
                                        BEEN ON NATIONAL BACKORDER FOR 7 WEEKS AND I AM STILL WAITING. THE CAR
                                        SHAKES ON THE INTERSTATE AT APROX 70 ·75 MILES PER HOUR. THE DEALERSHIP
                                        HAS BALANCED THE TIRES AND THIS HAS NOT FIXED PROBLEM. AFTER DRIVING ON
                                        INTERSTATE AT HIGH SPEEDS FOR EXTENDED PERIOD OF TIME, WHEN STOPPING THE
                                        CAR IDLES VERY ROUGH AND HAS EVEN CUT OFF. THE DEALERSHIP RAN A FUEL
                                        INDUCTION SERVICE. WILL SEE IF IT WORKS WHEN I GET IT BACK AFTER THEY
                                        REPLACE AC CONDENSER. THE CAR SHIFTS HORRIBLY, ESPECIALLY WHEN GOING
                                        SLOW. WAS TOLD THAT IS A PROBLEM WITH THE FUEL EFFICIENT SHIFTING AND
                                        THERE IS NO REPAIR.••JUST TO MANUALLY SHIFT. ALSO, THE HOOD OF THE CAR HAS
                                        TINY RUST SPOTS COMING THROUGH THE PAINT ALL OVER IT.

         1 Affected Product •


         Vehicle

         MAKE                                      MODE.                            YEAR



         CHEVROLET                                 SUBURBAN                         2015



         r.i Request Resean::h (Services fees apply)




           � prev                                             Page 1 of4                                       next -+


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7 of 8                                                                                                         10/18/2017, 3:17 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                         https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 71 of 96 Page ID #:71



           COMPLAINTS            RECAU.S        INVESTIGATIONS           MANUFACTURER COMMUNICATIONS




         96 Complaints
         for 201 5 C HEVROLET SUBU RBAN 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (96)   AIR BAGS (5)    ELECTRICAL SYSTEM (12)      ELECTRONIC STABIUTY CONTROL (3)     ENGINE (1O)   EQUIPMENT (1)

          EQUIPMENT ADAPTIVE (2)        EXTERIOR LIGHTING (4)    FUEL/PROPULSION SYSTEM (6)     POWER TRAIN (11)   SEAT BB..TS (1)   SEATS (4)

         (hMdv Hie•   1:l
                                    STEERING (12)   STRUCTURE (13)      SUSPENSION (6)   TIRES (1)   UNKNOWN OR OTHER (20)

          VEHICLE SPEED CONTROL (1)       VISIBILITY (2)   VISIBILITY/WIPER (2)   WHEELS (3)




         April 1 0, 2017 NHTSA ID NUMBER: 10971549
         Components: SERVICE BRAKES, ENGINE, VEHICLE SPEED CONTROL
                                                                                                                                                 8
         NHTSA ID Number: 1 0971 549
         Incident Date April 8, 2017
         Consumer Location LORTON, VA
         Vehicle Identification Number 1 GNSKJKCXFR****

         Summary of Complaint
         CRASH              No                 I WAS ON SLOPE HILL. MY.BRAKES ARE NOT RESPONDING. I PUT IN NEW BRAKES 2
                                               MONTHS AGO AND BRAKES NOT RESPONDING? MY CAR ALMOST WENT DOWN THE
         FIRE               No
                                               HILL. I CALLED ROADSIDE ASSISTANCE AND HAD THEM TOWED MY CAR TO
         INJURIES           0                  DEALERSHIP. THEY FOUND THE ISSUE VACUUM PUMP BROKE. ALSO MY
                                               TRANSMISSION HAVING ISSUE SINCE 2 MONTHS. THEY STILL HAVEN'T FOUND ISSUES.
         DEATHS             0
                                               I CAN'T CONTROL MY SPEED AND ENGINE GIVES A KICK WHEN ENTERING HIGHWAY.
                                               THEY WON'T REPAIR THIS ISSUE BECAUSE THEIR "MECHANICS" CANNOT FIND THE
                                               ISSUE. THIS IS THIS WORST VEHICLE TO DRIVE ANDUNSAFE FOR DRIVERS AND
                                               PASSENGERS.
         1 Affected Product .....

         Vehicle

         MAKE                                               MODEL                                       YEAR


         CHEVROLET                                          SUBURBAN                                    2015



         r Request Research (Services fees apply)




4 of 8                                                                                                                                       10/18/2017, 3:18 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                     https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 72 of 96 Page ID #:72
         February 28, 2017 NHTSA ID NUMBER: 10957711
         Components: SERVICE BRAKES
                                                                                                               8
         NHTSA ID Number: 1 095771 1

         Incident Date February 28, 2017

         Consumer Location TEXARKANA, TX

         Vehicle Identification Number 1 GNSCKKCSFR****

         Summary of Complaint

         CRASH          Y•             WHILE DRIVING HER VEHICLE TODAY MY WIFE DEPRESSED HER BRAKE TO STOP AND
                                       SHE SAID THE BRAKE FELT LIKE PUSHING ON A RUBBER TIRE. THE CAR WOULD NOT
         FIRE           No
                                       STOP CAUSING HER TO RUN A STOP SIGN AND HIT ANOTHER VEHICLE. WE HAD THE
         INJURIES        2             SAME PROBLEM LAST MONTH AND THE VEHICLE WAS TAKEN TO THE CHEVROLET
                                       DEALERSHIP AND "REPAIRED" ACCORDING TO THE CURRENT SAFETY BULLETIN ISSUED
         DEATHS          0
                                       BY CHEVROLET. THIS COLLISION CAUSED THE OTHER PERSON TO GO TO THE
                                       HOSPITAL VIA EMS AND MY WIFE WAS TAKEN BY POV TO ER FOR EVALUATION.
                                       OBVIOUSLY WHATEVER "FIX" WAS DONE BY THE DEALERSHIP WAS NOT THE CAUSE OF
                                       THE PROBLEM. I WAS TOLD THE VACUUM ASSIST PUMP AND HOSES WERE REPLACED,
                                       BUT THE VEHICLE STILL HAD THE SAME ISSUE.

         1 Affected Product ....


         Vehicle

         MAKE                                    MODEL                          YEAR


         CHEVROLET                               SUBURBAN                       2015



         r- Request Research (Services fees apply)




         February 23, 2017 NHTSA ID NUMBER: 10956664
         Components: SERVICE BRAKES, ELECTRONIC STABILITY CONTROL, SUSPENSION
                                                                                                               8
                                                                                                               -


         NHTSA ID Number: 1 0956664

         Incident Date January 1 5, 2016

         Consumer Location COVINA, CA

         Vehicle Identification Number 1 GNSCKKC4FR****

         Summary of Complaint

         CRASH          No             CAR ONLY HAS 60,000 MILES BRAKE BOOSTER IS GOING OUT AND CHEVY KNOWS
                                       THERE IS A PROBLEM BUT HAVE NOT RECALLED. ALSO FRONT SHOCKS ARE GOING
         FIRE           No
                                       OUT DUE TO MAGNETIC RIDE SYSTEM LOTS OF PEOPLE HAVE THE SAME PROBLEM
         INJURIES        0             CHEVY ONCE AGAIN HAS NOT RECALLED!
         DEATHS          O




5 of 8                                                                                                     10/18/2017, 3:18 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                        https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 73 of 96 Page ID #:73
         1 Affected Product •

         Vehicle

         MAKE                                     MODEL                            YEAR


         CHEVROLET                                SUBURBAN                         2015



         c Request Research (Services fees apply)



         November 28, 201 6 NHTSA ID NUMBER: 10928435
         Components: SERVICE BRAKES
                                                                                                                   8
         NHTSA ID Number: 1 0928435
         Incident Date November 28, 201 6
         Consumer Location HARVEY. LA
         Vehicle Identification Number IGNSCIKC6FR****

         Summary of Complaint
         CRASH         No                I HAVE A 2015 CHEVY. SIIRIIBBAN LT THE BRAKE PEDAL IS HARD TO PRESS AND THE
                                         CAR CONTINUE TO ROLL EVEN AFTER I APPLY THE BRAKE DESPITE THE ROTOR AND
         FIRE          No
                                         ALL THE PADS HAVE BEEN REPLACED.....THIS IS VERY DANGEROUS.
         INJURIES       O

         DEATHS         O


         1 Affected Product •

         Vehicle

         MAKE                                     MODEL                            YEAR


         CHEVROLET                                SUBURBAN                         2015



         c Request Research (Services fees apply)



         October 3, 201 6 NHTSA ID NUMBER: 10911185
         Components: SERVICE BRAKES
                                                                                                                   8
         NHTSA ID Number: 1 091 1 1 85
         Incident Date October 1, 2016
         Consumer Location BOCA RATON, FL




6 of 8                                                                                                         10/18/2017, 3:18 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                       https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 74 of 96 Page ID #:74
         Vehicle Identification Number 1GNSCJKC8FR****

         Summaryof Complaint
                                      TL* THE CONTACT OWNS A2015 CHEVROLET SUBURBAN. THE CONTACT STATED THAT
                                      WHILE DRIVING AT 60 MPH, THE BRAKE PEDAL WAS DEPRESSED AND THE VEHICLE
         FIRE
                                      HESITATED TO REDUCE IN SPEED. THE VEHICLE WAS TOWED TO THE DEALER WHERE IT
         INJURIES        0            WAS DIAGNOSED THAT THE BRAKE BOOSTER FAILED. THE VEHICLE WAS NOT
                                      REPAIRED. THE FAILURE MILEAGE WAS 67,000.
         DEAlHS          0


         1 Affected Product ...


         Vehicle

         MAKE                                   MODEL                             YEAR



         CHEVROLET                              SUBURBAN                          2015



         n Request Research (Services fees apply)




           � prev                                          Page 2 of 4                                       next �


         Recently Searched


         2015
         CHEVROLET SUBURBAN 1500
         SUVRWD


         OVERAll. SAFETY RATING




7 of 8                                                                                                       10/18/2017, 3:18 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                         https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 75 of 96 Page ID #:75



           COMPLAINTS            RECAU.S        INVESTIGATIONS           MANUFACTURER COMMUNICATIONS




         96 Complaints
         for 201 5 C HEVROLET SUBU RBAN 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (96)   AIR BAGS (5)    ELECTRICAL SYSTEM (12)      ELECTRONIC STABIUTY CONTROL (3)     ENGINE (1O)   EQUIPMENT (1)

          EQUIPMENT ADAPTIVE (2)        EXTERIOR LIGHTING (4)    FUEL/PROPULSION SYSTEM (6)     POWER TRAIN (11)   SEAT BB..TS (1)   SEATS (4)

         (hMdv Hie•   1:l
                                    STEERING (12)   STRUCTURE (13)      SUSPENSION (6)   TIRES (1)   UNKNOWN OR OTHER (20)

          VEHICLE SPEED CONTROL (1)       VISIBILITY (2)   VISIBILITY/WIPER (2)   WHEELS (3)




         September 8, 201 6 NHTSA ID NUMBER: 10904757
         Components: SERVICE BRAKES
                                                                                                                                                 8
         NHTSA ID Number: 1 0904757
         Incident Date September 7, 2016
         Consumer Location BROCKTON, MA
         Vehicle Identification Number 1 GNSKHKC7FR****

         Summary of Complaint
         CRASH              No                 I AM WRITING ABOUT MY 2015 CHEVY SUBURBAN. I OWN A LIMOUSINE SERVICE AND
                                               USE THE SUBURBAN IN MY FLEET. YESTERDAY A DRIVER, WITH PASSENGERS, HAD A
         FIRE               No
                                               TOTAL FAILURE OF THE POWER BRAKING SYSTEM. IT IS AT A LOCAL REPAIR SHOP NOW,
         INJURIES           0                  AND I AM BEING TOLD THE AIR PUMP HAD BROKEN APART, INSIDE, SNAPPED THE FAN
                                               BELT RESULTING IN NO VACUUM GETTING TO THE POWER BRAKE SYSTEM, M�ER
         DEATHS             0
                                               WAS BARELY ABLE TO STOP THE VEHICLE BEFORE REAR ENDING ANOTHER CAR ON
                                               THE HIGHWAY. THE VEHICLE HAS 54,000 MILES AND I AM BEING TOLD IS OUT OF THE
                                               BUMPER TO BUMPER WARRANTY. THERE ARE ALSO NO OPEN RECALLS. I AM
                                               REPORTING THIS ISSUE TO THE NHTSA AND THE MASSACHUSETTS ATTORNEY
                                               GENERAL.:$ OFFICE, AS I BELIEVE THIS IS AN IMMEDIATE DANGER TO THE GENERAL
                                               MOTORING PUBLIC. I JUST CONTACTED CHEVROLET BY PHONE AND EMAIL. THE
                                               REPRESENTATIVE ON THE PHONE SAID ALL SHE COULD TELL ME IS THAT IT'S OUT OF
                                               WARRANTY, THERE WERE NO RECALLS, AND I AM BASICALLY ON MY OWN TO REPAIR. I
                                               HOPE YOU ARE ABLE TO INVESTIGATE THIS SITUATION, IDENTIFY THE CAUSE OF THIS
                                               FAILURE, AND COME UP WITH A REMEDY FOR THE SAFETY OF EVERYONE.
         1 Affected Product '""
         r Request Research (Services fees apply)



         September 8, 201 6 NHTSA ID NUMBER: 10904602


4 of 7                                                                                                                                       10/18/2017, 3:29 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                      https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 76 of 96 Page ID #:76
         Components: EXTERIOR LIGHTING, AIR BAGS, SERVICE BRAKES



         July 24, 201 6 NHTSA ID NUMBER: 10888039
         Components: ELECTRICAL SYSTEM, ENGINE, SERVICE BRAKES
                                                                                                                EE)

         March 1 5, 201 6 NHTSA ID NUMBER: 10849844
         Components: POWER TRAIN, SERVICE BRAKES, ELECTRICAL SYSTEM, STRUCTURE
                                                                                                                8
                                                                                                                -


         NHTSA ID Number: 1 0849844
         Incident Date July 1 8, 201 5
         Consumer Location Unknown
         Vehicle Identification Number 1 GNSCJKC9FR****

         Summary of Complaint
         CRASH          Na               TL* THE CONTACT OWNS A 201 5 CHEVROLET SUBURBAN. WHILE ATTEMPTING TO
                                         BRAKE THE VEHICLE, THE BRAKES MADE AN ABNORMAL LOUD NOISE. THE VEHICLE
         FIRE           Na
                                         WAS TAKEN TO THE DEALER WHERE IT WAS DIAGNOSED THAT THE BRAKES AND
         INJURIES        0               ROTORS NEEDED TO BE REPLACED. THE VEHICLE WAS REPAIRED; HOWEVER, THE
                                         FAILURE RECURRED. THE CONTACT STATED THAT THE BRAKES AND ROTORS HAD BEEN
         DEATHS          0
                                         REPLACED A TOTAL OF THREE TIMES SINCE THE PURCHASE OF THE VEHICLE. ALSO,
                                         WHILE ATTEMPTING TO ACCELERATE, THE VEHICLE HESITATED AND SLOWED DOWN.
                                         THE VEHICLE WAS TAKEN TO THE DEALER. THE CONTACT WAS INFORMED THAT THE
                                         VEHICLE HAD NOT FAILED AND THAT WAS HOW IT WAS CALIBRATED. THE CONTACT
                                         ALSO STATED THAT THE LIFTGATE FAILED TO OPEN AUTOMATICALLY AND HAD TO BE
                                         MANUALLY OPERATED. THE VEHICLE WAS TAKEN TO THE DEALER, BUT THE FAILURE
                                         COULD NOT BE DUPLICATED. THE MANUFACTURER WAS MADE AWARE OF THE
                                         FAILURES. THE FAILURE MILEAGE WAS 43,000.
         1 Affected Product ""
         "= Request Research (Services fees apply)



         January 4, 201 6 NHTSAID NUMBER: 10817620
         Components: STEERING, SERVICE BRAKES
                                                                                                                8
         NHTSA ID Number: 1 0817620
         Incident Date December 1 2, 201 5
         Consumer Location SEAFORD, NY
         Vehicle Identification Number 1 GNSCJKC9FR****

         Summary of Complaint
         CRASH                           TL* THE CONTACT OWNS A 201 5 CHEVROLET SUBURBAN. THE CONTACT STATED THAT
                                         WHILE MAKING A LEFT TURN AT 20 MPH, THE BRAKE PEDAL WAS DEPRESSED AND
         FIRE           Na



5 of 7                                                                                                      10/18/2017, 3:29 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                     https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
             Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 77 of 96 Page ID #:77
         INJURIES         1           FAILED TO RESPOND AS THE VEHICLE ACCELERATED WITHOUT WARNING. IN ADDITION,
                                      THE CONTACT STATED THAT THE POWER STEERING FAILED. AS A RESULT, THE
                          0
                                      CONTACT CRASHED INTO ANOTHER VEHICLE. A POLICE REPORT WAS FILED. THE
                                      CONTACT SUSTAINED HEAD, NECK, BACK AND WRIST INJURIES THAT REQUIRED
                                      MEDICAL ATTENTION. THE VEHICLE WAS TOWED BUT WAS NOT DIAGNOSED OR
                                      REPAIRED. THE MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE FAILURE
                                      MILEAGE WAS 46,000.

         1 Affected Product "'
         LI Request Research (Services fees apply)




           � prev                                        Page 3 of 4                                       next -+




         2015
         GMC YUKON DENALI XL 1500
         SUV4WD


         OVERAll. SAff:TY RATING




         2015
         CHEVROLET SUBURBAN 1500
         SUVRWD


         OVERAll. SAR'TY RATING




6 of 7                                                                                                     10/18/2017, 3:29 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                           https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
            Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 78 of 96 Page ID #:78
            United States Department o f Transpo rtatio n




                                                                                               - YBilClECOMPAAISONTOOL
         Look up another vehlcle           Year Make Model or VIN
                                                                                               a.ill Compere Nfety lnfonnatlon



                                                                 2015
                                                            CHEVROLET TAHOE
                                                                      SUV4WD




                                                                1Q               INVESTIGATIONS O




                                                                    *****
                                                                OVIRALL SAff:TY RATING




         Safety Ratings.
         NHTSA's 5-Star Safety Ratings help consumers compare vehicle safety when searching for a car. More stars mean safer
         cars.

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1 of 9                                                                                                                   10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                                      https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 79 of 96 Page ID #:79



           COMPLAINTS           RECAU.S           INVESTIGATIONS          MANUFACTURER COMMUNICATIONS




         1 33 Complaints
         for 201 5 CHEVROLET TAHOE
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (133)   AIR BAGS (5)   ELECTRICAL SYSTEM (29)        ELECTRONIC STABILITY CONTROL (4)         ENGINE (1 O)     ENGINE AND ENGINE COOLING (1)

          EQUIPMENT (2)      EQUIPMENT ADAPTIVE (2)      EXTERIOR LIGHTING (11)         FUEL/PROPULSION SYSTEM (3)         INTERIOR LIGHTING (2)

          POWER TRAIN (11)      SEAT BB..TS (7)    SEATS (5)    SERVICE BRAKES (11)       STEERING (14)    STRUCTURE (11)       SUSPENSION (6)     TIRES (1)

          UNKNOWN OR OTHER (28)        VEHla..E SPEED CONTROL (3)      VISIBILITY (2)     VISIBILITY/WIPER (3)     WHEELS (2)




         October 5, 2017 NHTSA ID NUMBER: 1 1031984
         Components: SERVICE BRAKES
                                                                                                                                                           8
         NHTSA ID Number: 1 1 031984

         Incident Date October 4, 2017

         Consumer Location MACOMB, Ml

         Vehicle Identification Number 1 GNSKBKC3FR"'***

         Summary of Complaint

         CRASH                                    HARP BRAKE PEDAL, INCREASED EFFORT IS NEEDED TO DEPRESS BRAKE PEDAL. MOST
                                                  COMMONLY AT SPEEDS <35 MPH. OFTEN VEHICLE DOES NOT WANT TO STOP. VEHICLE
         FIRE              No
                                                  WAS IN MODERATE MORNING RUSH HOUR TRAFFIC. VEHICLE IN FRONT STOPPED
         INJURIES          0                      QUICKLY FROM 40 MPH. TRIED PRESSING BRAKE PEDAL ON 2015 TAHOE TO STOP.
                                                  PEDAL WAS EXTREMELY HARD AND VEHICLE WOULD NOT STOP.
         DEATHS            O


         1 Affected Product .....


         Vehicle

         MAKE                                                  MODEL                                             YEAR


         CHEVROLET                                             TAHOE                                             2015



         I:" Request Research (Services fees apply)




         September 25, 2017 NHTSA ID NUMBER: 11025403
         Components: SERVICE BRAKES
                                                                                                                                                           8
4 of 9                                                                                                                                                10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 80 of 96 Page ID #:80

         NHTSA ID Number: 1 1 025403
         Incident Date September 22. 2017
         Consumer Location Tl FTON, GA
         Vehicle Identification Number 1 GNSCBKC4FR****

         Summary of Complaint
         CRASH          No             AS I WAS SITTING IN THE VEHICLE IN PARK, I PLACED MY FOOT ON THE BRAKE AND
                                       NOTICED THAT THE BRAKE ASSIST HAD ACTIVATED WHILE IN PARK. I WAS UNABLE TO
         FIRE           No
                                       PUSH THE PETAL DOWN. I WAS ABLE TO MOVE THE SHIFTER INTO DRIVE WITH MY
         INJURIES        0             FOOT ON THE BRAKE, BUT THE VEHICLE IMMEDIATELY PLUNGED FORWARD. A..§.!
                                       CONTINUED TO TRY AND DEPRESS THE BRAKE PETAL, THE VEHICLE FINALLY SLOWED
         DEATHS          0
                                       TOASTO P. BEFORE I COULD GET OFF THE ROAD AND OUT OF TRAFFIC, THE BRAKE
                                       ASSIST CONTINUED TO BE LOCKED UP AND THERE WAS NO BRAKES IF I SHIFTED INTO
                                       REVERSE. I WAS EXTREMELY CONCERNED FOR MINE AND MY CHILDREN'S SAFETY AS
                                       THIS COULD HAVE CAUSED A VERY SERIOUS ACCIDENT. THE BRAKES DID NOT STOP
                                       THE VEHICLE AND WERE DEFECTIVE PUE TO THE VACUUM PUMP "GOING OUT". THE
                                       VEHICLE IS ONLY 2 YEARS OLD AND HAS 49K MILES.
         1 Affected Product ....

         Vehicle

         MAKE                                    MODEL                            YEAR


         CHEVROLET                               TAHOE                            2015



         r Request Research (Services fees apply)



         September 1 1 , 2017 NHTSA ID NUMBER: 11022709
         Components: SERVICE BRAKES
                                                                                                                  8
         NHTSA ID Number: 1 1 022709
         Incident Date September 10, 2017
         Consumer Location MONSEY. NY
         Vehicle Identification Number 1 GNSK2EC4FR****

         Summary of Complaint
         CRASH          Y•             WHEN APPLYING THE BRAKES MY CAR DOESN'T STOP 1 00% OF THE TIME. 1 TIM E
                                       DURING HIGHWAY SLOW M OVING TRAFFIC, 3 TIMES BACKING OUT OF MY DRIVEWAY
         FIRE           No
                                       (FLAT SURFACE), 4 TIMES WHEN ON INCLINE/DECLINE OF ROAD. WHEN APPLYING
         INJURIES        0             BRAKES. HORRIBLE CHATTERING VIBRATION COMES FROM LEFT FRONT TIRE AREA.
                                       CHATTER VIBRATION IS FELT IN BRAKE PEDAL. NO MATTER HOW HARD I APPLY THE
         DEATHS          0
                                       BRAKE THE CAR KEEPS GOING - IT WILL FINALLY STOP. BUT I ALMOST HIT THE CAR IN
                                       FRONT OF ME AT THE ONE HIGHWAY OCCURRENCE, 2 TIMES CAR FINALLY STOPPED



5 of 9                                                                                                        10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 81 of 96 Page ID #:81
         JUST BEFORE GOING OVER EDGE OF PROPERTY WHEN PULLING FORWARD &
         BACKWARD TO TURN AROUND IN TIGHT AREA. IN EACH INSTANCE I AM MOVING AT A
         VERY SLOW SPEED. I CONTACTED DEALERSHIP, THEY TOLD ME I WASN'T THE ONLY ONE
         CALLING ABOUT THIS HAPPENING BUT SINCE l'M OVER 36,000 WARRANTY THEY WILL
         CHARGE ME TO CK IT OUT,
         1 Affected Product ...

         Vehicle

         MAKE                              MODEL                                         YEAR



         CHEVROLET                         TAHOE POLICE PURSUIT                          2015



         r- Request Research (Services fees apply)



         September 5, 2017 NHTSA ID NUMBER: 1 1 021419
         Components: SERVICE BRAKES
                                                                                                                8
         NHTSA ID Number: 1 1 021 41 9
         Incident Date September 4, 2017
         Consumer Location WILLIAMSPORT, PA
         Vehicle Identification Number 1 GNSKBKCOFR****

         Summary of Complaint
         CRASH          No               WHILE DRIVING ON THE ROAD IN TRAFFIC I WENT TO PRESS ON THE BRAKES AND
                                         NOTICED THEY HAD BECOME STIFF AND HAD TO PRESS THEM AS HARD AS POSSIBLE
         FIRE           No
                                         TO SLOWLY STOP WHILE TRYING TO AVOID HITTING ANOTHER VEHICLE IN TRAFFIC. NO
         INJURIES       0                WARNING LIGHTS WERE ON IN THE DASH UNTIL I PULLED OVER AND RESTARTED
                                         VEHICLE A COUPLE OF TIMES. THEN I GOT THE ACTIVE BRAKE ASSIST SERVICE LIGHT
         DEATHS         O
                                         ON. I HAD THE VEHICLE TOWED TO THE NEAREST CHEVROLET SERVICE CENTER DUE
                                         TO THE VEHICLE NOT SAFE TO DRIVE.
         1 Affected Product ...

         Vehicle

         MAKE                                      MODEL                          YEAR


         CHEVROLET                                 TAHOE                          2015



         r Request Research (Services fees apply)



         August 29, 2017 NHTSA ID NUMBER: 1 1 020372



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2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 82 of 96 Page ID #:82
         Components: SERVICE BRAKES

         NHTSA ID Number: 1 1020372

         Incident Date August 13, 2017

         Consumer Location CARMEL, IN

         Vehicle Identification Number 1 GNSKCKC1 FR**"'*

         Summary of Complaint

         CRASH                           TL* THE CONTACT OWNS A 2015 CHEVROLET TAHOE. THE CONTACT STATED THAT
                                         WHILE DRIVING AT 5 MPH, THE BRAKE PEDAL WAS APPLIED BUT FAILED TO RESPOND
         FIRE           NCI
                                         WITHOUT WARNING. THE VEHICLE WAS TOWED TO A LOCAL DEALER: COUGHLIN FORD
         INJURIES       0                OF CIRCLEVILLE LOCATED AT 24001 US HIGHWAY 23 S CIRCLEVILLE OH 49113 WHERE
                                         IT WAS DIAGNOSED THAT THE BRAKE SENSOR NEEDED TO BE REPLACED. THE VEHICLE
         DEATIIS        0
                                         WAS REPAIRED BUT THE FAILURE RECURRED. THE VEHICLE WAS THEN TOWED TO HARE
                                         CHEVROLET LOCATED AT 2001 STONY CREED RD NOBLESVILLE IN 46060 WHERE IT
                                         WAS DIAGNOSED THAT THE VACUUM PUMP NEEDED TO BE REPLACED. THE VEHICLE
                                         WAS REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE AND OPENED
                                         CASE # 8·31775454 BUT DID NOT OFFER ANY FURTHER ASSISTANCE. THE FAILURE
                                         MILEAGE WAS 31,000.

         1 Affected Product ...


         Vehicle

         MAKE                                    MODE.                           YEAR



         CHEVROLcT                               TAHOE                           2015



         n Request Researdl (Services fees apply)




           � prev                                           Page 1 of3                                      next �


         Recently Searched


         2015
         CHEVROLET TAHOE
         SUV4WD




7 of 9                                                                                                      10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
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2016 CHEVROLET SUBURBAN 1500 SUV 4WD | NHTSA                                 https://www.nhtsa.gov/vehicle/2016/CHEVROLET/SUBURBAN%252...
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            United States Department o f Transpo rtatio n




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         Look up another vehlcle           Year Make Model or VIN
                                                                                               a.ill Compere Nfety lnfonnatlon



                                                        201 6
                                              CHEVROLET SUBURBAN 1500
                                                                        SUV4WD




                                                                    4            INVESTIGATIONS O




                                                                    *****
                                                                OVIRALL SAff:TY RATING




         Safety Ratings.
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         cars.

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1 of 6                                                                                                                   10/18/2017, 3:32 PM
2016 CHEVROLET SUBURBAN 1500 SUV 4WD | NHTSA                                          https://www.nhtsa.gov/vehicle/2016/CHEVROLET/SUBURBAN%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 85 of 96 Page ID #:85



           COMPLAINTS          RECAU.S         INVESTIGATIONS             MANUFACTURER COMMUNICATIONS




         23 Complaints
         for 201 6 C HEVROLET SUBU RBAN 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

                     ELECTRICAL SYSTEM (2)     ENGINE (3)      FUB.JPROPULSION SYSTEM (1)       POWER TRAIN (2)   SEAT BELTS (1)   SEATS (1)

         (hMdiv1:lfj@
          All (23)
                                STEERING (1)     STRUCTIJRE (4)      SUSPENSION (3)    TIRES (1)    UNKNOWN OR OTHER (8)

          VEHICLE SPEED CONTROL (4)    VISIBILITY (1)       VISIBILITY/WIPER (1)   WHEELS (3)




         Apri I 4, 2017 NHTSA 1D NUMBER: 10910,os
         Components: SERVICE BRAKES, ELECTRICAL SYSTEM, VEHICLE SPEED CONTROL
                                                                                                                                                   EE)

         March 1 3, 2017 NHTSA ID NUMBER: 10965728
         Components: SERVICE BRAKES, ENGINE, VEHICLE SPEED CONTROL
                                                                                                                                                   8
                                                                                                                                                   -


         NHTSA ID Number: 1 0965728
         Incident Date March 1 3, 2017
         Consumer Location LAND O' LAKES, FL
         Vehicle Identification Number 1 GNSCJKC3GR****

         Summary of Complaint

         CRASH            Na                   TL* THE CONTACT OWNS A 2016 CHEVROLET SUBURBAN. WHILE DRIVING 30 MPH, THE
                                               VEHICLE FAILED TO ACCELERATE. ALSO, THE BRAKES FAILED TO RESPOND WHEN THE
         FIRE             Na
                                               BRAKE PEDAL WAS DEPRESSED AND THE VEHICLE STALLED. THE FAILURE RECURRED
         INJURIES          D                   TWO MORE TIMES. THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
                                               MANUFACTURER WAS MADE AWARE OF THE FAILURES. THE APPROXIMATE FAILURE
         DEATHS            O
                                               MILEAGE WAS 14,000.
         1 Affected Product ...

         Vehicle

         MAKE                                                MODEL                                         YEAR



         CHEVROLET                                           SUBURBAN                                      2016



         r Request Research (Services fees apply)



4 of 6                                                                                                                                         10/18/2017, 3:32 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                              https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
            Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 86 of 96 Page ID #:86
            United States Department o f Transpo rtatio n




                                                                                               - YBilClECOMPAAISONTOOL
         Look up another vehlcle           Year Make Model or VIN
                                                                                               a.ill Compere Nfety lnfonnatlon



                                                                     201 4
                                              CHEVROLET SILVERADO 1 500
                                                                     PU/RCRWD




                                                                17               INVESTIGATIONS O




                                                                    *****
                                                                OVIRALL SAff:TY RATING




         Safety Ratings.
         NHTSA's 5-Star Safety Ratings help consumers compare vehicle safety when searching for a car. More stars mean safer
         cars.

         Learn about crash teat ratings -+




1 of 8                                                                                                                   10/18/2017, 3:37 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                                      https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 87 of 96 Page ID #:87



           COMPLAINTS             RECAU.S          INVESTIGATIONS         MANUFACTURER COMMUNICATIONS




         452 Complaints
         for 201 4 C HEVROLET S I LVERADO 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (452)   AIR BAGS (27)    ELECTRICAL SYSTEM (86)        ELECTRONIC STABIUTY CONTROL (49)     ENGINE (58)     ENGINE AND ENGINE COOLING (6)

          EQUIPMENT (5)      EXTERIOR LIGHTING (16)      FUEL SYSTEM, GASOLINE (2)    FUELJPROPULSION SYSTEM (9)        LATCHES/LOCKS/LINKAGES (1)

          POWER TRAIN (79)       SEAT BELTS (20)     SEATS (24)   (hf'Mjv\:�HM            SERVICE BRAKES, HYDRAULIC (1)     STEERING (109)

          STRUCTURE (40)        SUSPENSION (33)     TIRES (7)     UNKNOWN OR OTHER (54)    VEHICLE SPEED CONTROL (15)      VISIBILITY (7)

          VISIBILITY/WIPER (8)     WHEELS (20)




         October 1 6, 2017 NHTSA ID NUMBER: 11033883
         Components: SERVICE BRAKES
                                                                                                                                                     8
         NHTSA ID Number: 1 1 033883
         Incident Date October 2, 2017
         Consumer Location LA VERN IA, TX
         Vehicle Identification Number 3GCPCTEC9EG-

         Summary of Complaint
         CRASH             No                    PER ATTACHED WORK ORDERS, MY BRAKES WERE GOING TO THE FLOOR IN REVERSE
                                                 ONLY. THEY REPLACED MASTER CYLINDER AND SAID ALL FIXED. SEVERAL WEEKS
         FIRE              No
                                                 LATER HAPPENED AGAIN SO NOW REPLACED VACUUM & BOOSTER PUMP. THAT WAS 2
         INJURIES          0                     WEEKS AGO. STILL WORKING AND FILED COMPLAINT WITH GM BUT THEY SAID
                                                 NOTHING THEY COULD DO. THESE HAVE NO MOVING OR MECHANICAL PARTS AND
         DEATHS            O
                                                 SHOULD PROBABLY NEVER WEAR OUT. PRIOR TO ALL THIS I WAS GETTING A REPORT
                                                 TO SERVICE ELECTRONIC TRAILER BRAKES BUT HAD NOT HOOKED UP A TRAILER?
                                                 WHEN FIRST POINTED THIS OUT THEY SAID COULD NOT FIND ANYTHING. SECOND
                                                 TIME THEY REPLACED ELECTRONIC SWITCH AS "BAD". PERSONALLY I FEEL IT HAD
                                                 NOTHING TO DO WITH ALL THE PARTS REPLACED AND FEEL STRONGLY THAT THIS IS
                                                 ELECTRONIC AND RELATED TO THE ABS BRAKING SYSTEM ELECTRONICS OR MOTHER
                                                 BOARD. VEHICLE WAS IN REVERSE MOVING SLOWLY. DAMAGED REAR BUMPER LAST
                                                 FAIL DUE TO UNABLE TO STOP VEHICLE. IF SOMEONE WAS BEHIND ME DIRECTING ME
                                                 THERE IS A GOOD CHANCE THEY COULD HAVE BEEN CRUSHED OR INJURED SERIOUSLY.
                                                 I FEEL THIS IS A RECALL WAITING TO HAPPEN.
         1 Affected Product ...


         Vehicle




4 of 8                                                                                                                                         10/18/2017, 3:37 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                   https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
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         MAKE                                   MODEL                               YEAR


         CHEVROLET                              SILVERADO 1 500                     2014


         c Request Research (Services fees apply)




         September 1 1 , 2017 NHTSA ID NUMBER: 11022580
         Components: ELECTRICAL SYSTEM, SERVICE BRAKES, ELECTRONIC STABILITY
         CONTROL



         August 1 2, 2017 NHTSA ID NUMBER: 1 1014788
         Components: SERVICE BRAKES, UNKNOWN OR OTHER



         July 1 8, 2017 NHTSA ID NUMBER: 11006271
         Components: SERVICE BRAKES
                                                                                                                 8
         NHTSA ID Number: 1 1 006271

         Incident Date July 1 8, 2017

         Consumer Location KYLE, TX

         Vehicle Identification Number N/A

         Summary of Complaint

         CRASH           No             WHILE DRIVING MY2014 SILVERADO MY BRAKES BECAME HARD TO USE. I HAD TO
                                        PUSH HARD WITH BOTH GET TO GET THEM TO WORK THEN I DROVE THE REST OF THE
         FIRE            No
                                        WAY AND THEY WHERE FINE UNTIL I TRIED TO PARK AND IT HAPPENED AGAIN. I FOUND
         INJURIES         0             ON A FORUM THAT THIS IS A VACCUME PUMP ISSUE THAT IS COMMON IN THIS YEAR.

         DEATHS           O


         1 Affected Product .....


         Vehicle

         MAKE                                   MODEL                               YEAR


         CHEVROLET                              SILVERADO 1 500                     2014


         r Request Research (Services fees apply)




5 of 8                                                                                                       10/18/2017, 3:37 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                        https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...



                                                                                                                      e
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 89 of 96 Page ID #:89
         June 26, 2017 NKTSA ID ru.mst: 11001423
         Components: SERVICE BRAKES

         NHTSA ID Number: 1 1001423

         Incident Date March 4, 2017

         Consumer Location COLUMBUS GROVE. OH

         Vehicle Identification Number 3GCUKREC4EG*"*


         Summary of Complaint

                        No             VERY VERY HARD BRAKE PEDDLE AT LOW SPEEDS. I HAVE BEEN TOLD THE VACUUM
                                       PUMP NEEDS REPLACED. THE VEHICLE HAD LESS THAN 50,000 MILES.
         FIRE           No

         INJURIES       O

         DEA1HS         O


         1 Affected Product ...


         Vehicle

         MAKE                                 MODa



         CHEVROLET                            SILVERADO 1 500                            2014



         u Request Research (Services fees apply)




           � prev                                               Page 1 of6                                       next -+




         2014
         CHEVROLET SILVERADO 1500
         PUJRCRWD



         OVERAU. Uff:TY RATING




6 of 8                                                                                                            10/18/2017, 3:37 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                                      https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 90 of 96 Page ID #:90



           COMPLAINTS             RECAU.S          INVESTIGATIONS         MANUFACTURER COMMUNICATIONS




         452 Complaints
         for 201 4 C HEVROLET S I LVERADO 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (452)   AIR BAGS (27)     ELECTRICAL SYSTEM (86)       ELECTRONIC STABIUTY CONTROL (49)     ENGINE (58)     ENGINE AND ENGINE COOLING (6)

          EQUIPMENT (5)      EXTERIOR LIGHTING (16)      FUEL SYSTEM, GASOLINE (2)    FUELJPROPULSION SYSTEM (9)        LATCHES/LOCKS/LINKAGES (1)

          POWER TRAIN (79)       SEAT BELTS (20)     SEATS (24)   (hf'Mjv\:�HM            SERVICE BRAKES, HYDRAULIC (1)     STEERING (109)

          STRUCTURE (40)        SUSPENSION (33)     TIRES (7)     UNKNOWN OR OTHER (54)    VEHICLE SPEED CONTROL (15)      VISIBILITY (7)

          VISIBILITY/WIPER (8)     WHEELS (20)




         June 21, 2017 NHTSA ID NUMBER: 11000538
         Components: SERVICE BRAKES
                                                                                                                                                     8
         NHTSA ID Number: 1 1 000538

         Incident Date May 2, 2017

         Consumer Location ROSHARON, TX

         Vehicle Identification Number N/A

         Summary of Complaint

         CRASH             No                     BRAKE PEDAL IS HARD TO PRESS IN MAKING VEHICLE HARD TO STOP

         FIRE              No

         INJURIES          O

         DEATHS            O


         1 Affected Product •


         Vehicle

         MAKE                                            MODEL                                                YEAR


         CHEVROLET                                       SILVERADO 1 500                                      2014



         r Request Research (Services fees apply)




         June 4, 2017 NHTSAID NUMBER: 10993037


4 of 7                                                                                                                                         10/18/2017, 3:38 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                   https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 91 of 96 Page ID #:91
         Components: SERVICE BRAKES, UNKNOWN OR OTHER



         May 25, 2017 NHTSA ID NUMBER: 10991595
         Components: SERVICE BRAKES
                                                                                                                 8
         NHTSA ID Number: 1 0991 595
         Incident Date May 21, 2017
         Consumer Location ALEXANDRIA. VA
         Vehicle Identification Number 3GCUKREC7EG****

         Summary of Complaint
         CRASH           No            NO POWER BRAKES. AT LOW SPEEDS VACUUM PUMP DOES NOT PROVIDE ENOUGH
                                       VACUUM FOR BRAKES TO WORK. VERY HARD BRAKE PEDAL FEELS LIKE YOU HAVE NO
         FIRE            No
                                       BRAKES. THERE IS A SERVICE BULLETIN PIT5361 B WHEN I SPOKE TO CHEVROLET
         INJURIES         0            CUSTOMER SERVICE THEY TOLD ME MY TRUCK WASN'T COVERED UNDER THIS BUT IT
                                       CLEARLY IS. THIS IS VERY UNSAFE AND MIGHT CAUSE MANY ACCIDENTS OR DEATHS
         DEATHS           O


         1 Affected Product .....

         Vehicle

         MAKE                                 MODEL                                 VEAR



         CHEVROLET                            SILVERADO 1500                        2014



         c:: Request Research (Services fees apply)



         May 1 0, 2017 NHTSA ID NUMBER: 10984684
         Components: SERVICE BRAKES
                                                                                                                 8
         NHTSA ID Number: 1 0984684
         Incident Date May 8, 2017
         Consumer Location RICHARDSON, TX
         Vehicle Identification Number 1 GCRCREH3EZ****

         Summary of Complaint
         CRASH           No            MY TRUCK HAS 43K MILES ON IT. DRIVING IT THE OTHER DAY ON A CITY STREET, I
                                       HEARD A SQUEALING SOUND, AND THEN THE BRAKES FAILED. I HAD TO PUSH DOWN
         FIRE            No
                                       REALLY HARD TO AVOID REAR ENDING A CAR IN FRONT OF ME ON MY WAY HOME.
         INJURIES         0            WHEN I GOT HOME I COULD SEE THAT THE BELT POWERING THE VACUUM ASSIST
                                       PUMP FOR THE BRAKES HAD SNAPPED. SO I WENT TO AUTOZONE AND PURCHASED
         DEATHS           O
                                       ANOTHER ONE. PUT IT ONE AND STARTED THE TRUCK. THE SQUEALING WAS QUITE



5 of 7                                                                                                       10/18/2017, 3:38 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA              https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
            Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 92 of 96 Page ID #:92
         LOUD BECAUSE THE BELT WAS TURNING, BUT NOT THE VACUUM PUMP. SO I REMOVED
         THE PUMP AND DISCOVERED LARGE AMOUNTS OF METAL SHARDS IN THE OIL WHICH
         NOW MEANS I CAN'T DRIVE THE TRUCK WITHOUT RISKING TAKING OUT MY ENGINE.
         THIS SHOULD NOT BE HAPPENING ON A 3 YEAR OLD VEHICLE.

         1 Affected Product "'

         n Request Research (Services fees apply)




         April 27, 201 7 NlfTSA ID NUMBER: 10981050
         Components: SERVICE BRAKES




           +- prev                                    Page 2 of 6                                      next -+



         Recently Searched


         2014
         CHEVROLET SILVERADO 1500
         PUJRC RWD



         OVERALL.SAFETY RATING




         2016
         CADILLAC ESCALADE
         SUVRWD

         Nol llNII nl1Ald
         OVERALL SAFETY RATING




6 of 7                                                                                                  10/18/2017, 3:38 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                                      https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
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           COMPLAINTS             RECAU.S          INVESTIGATIONS         MANUFACTURER COMMUNICATIONS




         452 Complaints
         for 201 4 C HEVROLET S I LVERADO 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (452)   AIR BAGS (27)    ELECTRICAL SYSTEM (86)        ELECTRONIC STABIUTY CONTROL (49)     ENGINE (58)     ENGINE AND ENGINE COOLING (6)

          EQUIPMENT (5)      EXTERIOR LIGHTING (16)      FUEL SYSTEM, GASOLINE (2)    FUELJPROPULSION SYSTEM (9)        LATCHES/LOCKS/LINKAGES (1)

          POWER TRAIN (79)       SEAT BELTS (20)     SEATS (24)   (hf'Mjv\:�HM            SERVICE BRAKES, HYDRAULIC (1)     STEERING (109)

          STRUCTURE (40)        SUSPENSION (33)     TIRES (7)     UNKNOWN OR OTHER (54)    VEHICLE SPEED CONTROL (15)      VISIBILITY (7)

          VISIBILITY/WIPER (8)     WHEELS (20)




         January 1 7, 201 7 NHTSA ID NUMBER: 10945715
         Components: SERVICE BRAKES, STEERING
                                                                                                                                                     8
         NHTSA ID Number: 1 094571 5
         Incident Date January 1 6, 2017
         Consumer Location MURFREESBORO, TN
         Vehicle Identification Number 3GCUKREH6EG****

         Summary of Complaint
         CRASH             No                    TL* THE CONTACT OWNS A 2014 CHEVROLET SILVERADO 1 500. WHILE DRIVING 20
                                                 MPH, THE POWER STEERING SEIZED WITHOUT WARNING. IN ADDITION, THE BRAKES
         FIRE              No
                                                 LOCKED UP WITHOUT WARNING. THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED.
         INJURIES          0                     THE MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE FAILURE MILEAGE WAS
                                                 90,000.
         DEATHS            0


         1 Affected Product •


         Vehicle

         MAKE                                            MODEL                                                YEAR


         CHEVROLET                                       SILVERADO 1 500                                      2014



         r Request Research (Services fees apply)



         January 1 1 , 201 7 NHTSAID NUMBER: 10944290


4 of 7                                                                                                                                         10/18/2017, 3:43 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                          https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 94 of 96 Page ID #:94
         Components: SERVICE BRAKES

         NHTSA ID Number: 1 0944290

         Incident Date December 28, 2016

         Consumer Location SPARTA, NJ

         Vehicle Identification Number 3GCUKREC9EG****

         Summary of Complaint

         CRASH           Na             I WAS TRAVELING ON A HIGHWAY DOING 55 MPH. I SAY THE LIGHT TURN RED AND
                                        APPLIED MY BRAKES. THERE WERE NO BRAKES AS THE PEDAL WENT TO THE FLOOR.
         FIRE            Na
                                        FORTUNATELY WE WERE ABLE TO ROLL TO A STOP WITHOUT CRASHING INTO THE CAR
         INJURIES        0              IN FRONT. I WAS TOWED TO MY DEALER WHERE THEY DIAGNOSED IT AS�KE
                                        BOOSTER FAILURE. THIS IS JUST NOT RIGHT AND SEEMS TOO DANGEROUS FOR SUCH A
         DEATHS          O
                                        NEW VEHICLE.
         1 Affected Product ....

         Vehicle

         MAKE                                   MODEL                                      YEAR


         CHEVROLET                              SILVERADO 1 500                            2014



         i:   Request Research (Services fees apply)




         August 1 1 , 201 6 NHTSA ID NUMBER: 10895114
         Components: SERVICE BRAKES



         April 1 8, 2016 NHTSA ID NUMBER: 10860090
         Components: SEAT BELTS, SERVICE BRAKES, SUSPENSION



         January 20, 201 6 NHTSA ID NUMBER: 10121233
         Components: SERVICE BRAKES




              +- prev                                             Page 3 of 6                                      next --+



         Recently Searched


         2014


5 of 7                                                                                                              10/18/2017, 3:43 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                                      https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 95 of 96 Page ID #:95



           COMPLAINTS             RECAU.S          INVESTIGATIONS         MANUFACTURER COMMUNICATIONS




         452 Complaints
         for 201 4 C HEVROLET S I LVERADO 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (452)   AIR BAGS (27)     ELECTRICAL SYSTEM (86)       ELECTRONIC STABIUTY CONTROL (49)     ENGINE (58)     ENGINE AND ENGINE COOLING (6)

          EQUIPMENT (5)      EXTERIOR LIGHTING (16)      FUEL SYSTEM, GASOLINE (2)    FUELJPROPULSION SYSTEM (9)        LATCHES/LOCKS/LINKAGES (1)

          POWER TRAIN (79)       SEAT BELTS (20)     SEATS (24)   (hf'Mjv\:�HM            SERVICE BRAKES, HYDRAULIC (1)     STEERING (109)

          STRUCTURE (40)        SUSPENSION (33)     TIRES (7)     UNKNOWN OR OTHER (54)    VEHICLE SPEED CONTROL (15)      VISIBILITY (7)

          VISIBILITY/WIPER (8)     WHEELS (20)




         March 1 0, 201 5 NHTSA ID NUMBER: 10693235
         Components: STRUCTURE, SERVICE BRAKES



         January 1 6, 201 5 NHTSA ID NUMBER: 10673007
         Components: SERVICE BRAKES, VEHICLE SPEED CONTROL, AIR BAGS
                                                                                                                                                     8
         NHTSA ID Number: 1 0673007
         Incident Date January 14, 2015
         Consumer Location FORT SM ITH, AR
         Vehicle Identification Number 1 GCRCREC8EZ****

         Summary of Complaint
         CRASH             Y•                    I WAS GOING NORTH WHEN A VEHICLE SUDDENLY STOPPED IN FRONT OF ME. I BRAKED
                                                 AS QUICKLY AS POSSIBLE, THE 2014 CHEVY SILVERADO THAT I WAS DRIVING ONLY
         FIRE              No
                                                 SLOWLY CAME TO A STOP. UNFORTUNATELY, I REARENDED ANOTHER VEHICLE.
         INJURIES          1                     THANKFULLY I HAD NOT GOTTEN UP TO THE SPEED LIMIT (30MPH) AND WAS ONLY
                                                 GOING 20MPH. MY TRUCK WOULD NOT BRAKE QUICKLY. NO SCREECHING TIRES, NO
         DEATHS            0
                                                 BLACK MARKS ON THE ROAD. THE STOP WAS SO SLOW THAT I HAD TIME TO TURN THE
                                                 STEERING WHEEL AND ONLY DAMAGE PART OF MY FRONT END. THE GRILL, BUMPER,
                                                 AND HOOD WERE SMASHED IN. NO AIRBAGS CAME OUT OF THE TRUCK, AND MY
                                                 ONSTAR SERVICE SENSOR DID NOT GO OFF. AFTER COLLIDING WITH THE VEHICLE MY
                                                 2014 CHEVY SHUT OFF BY ITSELF. I HAD THE BRAKE STILL DEPRESSED & PUT THE
                                                 TRUCK INTO PARK *TR
         1 Affected Product .....


         Vehicle



4 of 7                                                                                                                                         10/18/2017, 3:46 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                   https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
                Case 5:18-cv-02153-DMG-SP Document 1 Filed 10/09/18 Page 96 of 96 Page ID #:96

         MAKE                                     MODEL                          YEAR


         CHEVROLET                                 SILVERADO                     2014



         c Request Research (Services fees apply)




         January 1 6, 201 5 NHTSA ID NUMBER: 10672998
         Components: AIR BAGS, VEHICLE SPEED CONTROL, SERVICE BRAKES
                                                                                                                 8
         NHTSA ID Number: 1 0672998

         Incident Date January 1 4, 2015

         Consumer Location FORT SM ITH, AR

         Vehicle Identification Number 1 GCRCREC8EZ****

         Summary of Complaint

         CRASH          Ya              I WAS GOING NORTH WHEN A VEHICLE SUDDENLY STOPPED IN FRONT OF ME. I BRAKED
                                        AS QUICKLY AS POSSIBLE, THE 2014 CHEVY SILVERADO THAT I WAS DRIVING ONLY
         FIRE           No
                                        SLOWLY CAME TO A STOP. UNFORTUNATELY. I REARENDED ANOTHER VEHICLE.
         INJURIES        1              THANKFULLY I HAD NOT GOTTEN UP TO THE SPEED LIMIT (30MPH) AND WAS ONLY
                                        GOING 20MPH. MY TRUCK WOULD NOT BRAKE QUICKLY. NO SCREECHING TIRES, NO
         DEATHS          0
                                        BLACK MARKS ON THE ROAD. THE STOP WAS SO SLOW THAT I HAD TIME TO TURN THE
                                        STEERING WHEEL AND ONLY DAMAGE PART OF MY FRONT END. THE GRILL, BUMPER,
                                        AND HOOD WERE SMASHED IN. NO AIRBAGS CAME OUT OF THE TRUCK, AND MY
                                        ONSTAR SERVICE SENSOR DID NOT GO OFF. *TR

         1 Affected Product ....


         Vehicle

         MAKE                                     MODEL                          YEAR


         CHEVROLET                                 SILVERADO                     2014



         l!l Request Research (Services fees apply)




         November 20, 2014 NHTSAID NUMBER: 10659651
         Components: ELECTRICAL SYSTEM, SERVICE BRAKES



         August 1 3, 2014 NHTSA ID NUMBER: 10622123
         Components: POWER TRAIN, STEERING, SERVICE BRAKES




5 of 7                                                                                                       10/18/2017, 3:46 PM
